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16                               UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
18                                   SAN FRANCISCO DIVISION
19

20   UNITED STATES OF AMERICA ex rel.               ) CASE NO. C 15-01062 JD
     KATHY ORMSBY,                                  )
21                                                  )
             Plaintiff,                             )
22                                                  )
        v.                                          ) UNITED STATES’ COMPLAINT-IN -
23                                                  ) INTERVENTION
     SUTTER HEALTH and PALO ALTO                    )
24   MEDICAL FOUNDATION,                            )
                                                    )
25           Defendants.                            )
                                                    )
26

27

28
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 1          The United States of America (“United States” or “Government”) brings this action

 2 against Defendants Sutter Health (“Sutter”) and its affiliate, Palo Alto Medical Foundation

 3 (“PAMF”), to recover treble damages and civil penalties for their (collectively, “Defendants”)

 4 violations of the False Claims Act (“FCA”), 31 U.S.C. §§ 3729–3733, and damages and other

 5 relief for their common law violations of payment by mistake and unjust enrichment.

 6          Sutter and PAMF’s violations of the FCA stem from their participation in the Medicare

 7 Advantage Program. Millions of elderly and disabled individuals throughout the United States

 8 receive healthcare benefits through Medicare, which is administered by the Centers for Medicare
 9 and Medicaid Services (“CMS”). Sutter, through its provider affiliates, including PAMF, serves

10 more than 100 communities in Northern California and furnishes healthcare to tens of thousands

11 of Medicare beneficiaries enrolled in the Medicare Part C Program, known as Medicare

12 Advantage (“MA”). Sutter and PAMF violated the FCA by knowingly submitting and causing

13 the submission of thousands of false claims, and the corresponding false statements and records,

14 relating to the MA Program. See 31 U.S.C. § 3729 (a)(1)(A), (B). This misconduct resulted in

15 tens of millions of dollars of overpayments from Medicare. Sutter and PAMF then compounded

16 this misconduct by knowingly and improperly avoiding their obligations to repay these

17 overpayments to Medicare. See id. § 3729(a)(1)(G).

18          Having filed a notice of intervention pursuant to 31 U.S.C. § 3730(b)(4), the United

19 States alleges for its complaint-in-intervention (“Complaint”) as follows:

20                                        INTRODUCTION

21          1.      There are four parts to the Medicare Program: Part A covers inpatient care, Part B

22 covers outpatient care, Part C is the Medicare Advantage Program discussed below, and Part D is

23 prescription drug coverage. A beneficiary eligible for Medicare may choose to be covered under

24 what is commonly referred to as “traditional” Medicare, which is Medicare Parts A and B, in

25 which CMS reimburses healthcare providers for services rendered via submission of claims.

26 This is known as a fee-for-service payment system. Another option for a Medicare beneficiary is

27 Medicare Advantage, in which a beneficiary may opt instead to enroll in a Medicare Advantage

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 1 Plan (“MA Plan”) managed by a private insurance company (“MA Organization”). See

 2 Subchapter XVIII of the Social Security Act, 42 U.S.C. §§ 1395w-21 to 1395w-28.

 3          2.      Much like any other private health insurance plan, MA Plans come in a variety of

 4 forms. For reasons that will be discussed below, many MA Plans are structured similarly to an

 5 HMO (Health Maintenance Organization), in which an MA Organization organizes a network of

 6 healthcare providers that a beneficiary may go to for healthcare services with the central point of

 7 contact being the beneficiary’s primary care physician. Others are structured like a PPO

 8 (Preferred Provider Organization) that offers a network of healthcare providers that a beneficiary
 9 can use for medical care and may see a specialist without a referral.

10          3.      CMS reimburses MA Plans differently than traditional Medicare. CMS pays MA

11 Organizations a capitated (fixed) amount for each beneficiary that covers all Medicare Part A

12 and Part B benefits (except hospice). This capitated rate is set by a bid submitted by the MA

13 Organization that is compared to an administratively set benchmark established under the Part C

14 statute. See 42 U.S.C. §§ 1395w-23(a)(1)(B) and 42 C.F.R. § 422.304.

15          4.      Recognizing that the cost of care for a beneficiary will vary, CMS adjusts this

16 fixed amount based on a methodology that takes into account various factors, including the

17 health status of each beneficiary. This health status adjustment, referred to as risk adjustment,

18 results in higher capitated rates for sicker patients and lower capitated rates for healthier patients.
19 As discussed more fully below, the risk adjustment is generally based on the submission to CMS

20 of beneficiaries’ health status or illnesses in the form of diagnosis codes. The diagnosis codes

21 submitted for a beneficiary are reflected in what is referred to as a risk score. The risk-

22 adjustment payment is the bid amount multiplied by the risk score for each enrollee. See 42

23 C.F.R. § 422.308(e). As detailed further below, the International Statistical Classification of

24 Diseases and Related Health Problems (“ICD”) sets forth the standards accepted by CMS and the

25 healthcare industry for the identification of diagnosis codes by their physicians.

26          5.      In many instances, MA Organizations contract with healthcare providers to

27 participate in the MA Plan’s network. Sutter, through its provider affiliates, including PAMF,

28 furnishes healthcare services to thousands of Part C beneficiaries under at least 10 MA Plans
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 1 managed by three MA Organizations: United Healthcare Group, Health Net, Inc., and Humana

 2 Inc. Pursuant to these agreements, Sutter and PAMF submit patient encounter data, which

 3 reflects information gathered during a visit with a healthcare provider, including diagnosis codes,

 4 to MA Organizations for their MA Plan enrollees. The MA Organizations, in turn, submit these

 5 diagnosis codes to CMS through what is known as the Risk-Adjustment Processing System

 6 (“RAPS”) and through the Encounter Data System (“EDS”). CMS uses these diagnosis codes to

 7 calculate a risk score for each beneficiary, which is then used to adjust the capitated payments to

 8 the MA Organizations for each MA Plan enrollee. To do so, CMS employs a risk-adjustment
 9 model, called the Hierarchical Conditions Category (“HCC”) model, which takes into account

10 both demographic factors (such as age and gender) and medical conditions of a patient to

11 determine the risk scores for beneficiaries in MA Plans. The medical conditions, as represented

12 by diagnosis codes, are grouped into HCCs, which are categories of clinically-related medical

13 diagnoses. See 42 C.F.R. § 422.2. The diagnosis codes grouped or “mapped” into HCCs that

14 affect payment include major, severe, and/or chronic illnesses. These diagnosis codes are

15 referred to as “risk-adjusting diagnosis codes.” Not all diagnosis codes result in an adjustment in

16 risk score and thus not all diagnosis codes affect payment. Related groups of diagnoses are

17 ranked on the basis of disease severity and the cost associated with their treatment.

18          6.      Every month, CMS pays the MA Organizations the capitation amount as

19 established by the bid and adjusted using its risk-adjustment methodology for each beneficiary.

20 MA Organizations pay providers who care for beneficiaries through a variety of arrangements;

21 however, many large provider groups, such as Sutter and PAMF, enter into a capitated or

22 “gainsharing” arrangement that aligns their financial interests. Under a capitated arrangement,

23 the MA Organization enters into a contract to pay a portion of the capitation payment from the

24 Government to its providers like Sutter and PAMF, less a percentage fee for administration as

25 determined by its contracts. MA Organizations also pay some providers on a fee-for-service

26 basis for each service, such as an office visit, provided to a beneficiary. Frequently, the provider

27 also enters into “gainsharing” agreements with the MA Organizations where they receive

28 incentive payments based in whole or in part on total revenues that MA Organizations receive
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 1 from the Government for the beneficiaries cared for by these gainsharing providers. These

 2 agreements incentivize providers such as Sutter and PAMF to increase the number of risk-

 3 adjusting diagnoses they report to MA Organizations, and to report diagnosis codes for more

 4 severe risk-adjusting medical conditions. The more risk-adjustment payments obtained by the

 5 MA Organizations for the beneficiaries cared for by Sutter and PAMF, the more money MA

 6 Organizations pay to Sutter and PAMF pursuant to the capitation and gainsharing agreements.

 7 Hence, the patient risk-adjusting diagnosis codes that map to HCCs directly impact the payments

 8 received by the MA Organizations and providers like Sutter and PAMF.
 9          7.      The scheme in this case centers on Sutter and PAMF (1) knowingly submitting

10 thousands of false diagnosis codes to MA Organizations and knowingly causing the submission

11 of thousands of false diagnosis codes to CMS, and (2) knowingly retaining overpayments

12 resulting from the submission of these false diagnosis codes. Specifically, each false diagnosis

13 code that Sutter and PAMF knowingly submitted and that was used in CMS’s risk-adjustment of

14 payments is a false claim under the FCA. These false claims caused the MA Organization’s

15 diagnosis submissions to CMS to be false and inflated Sutter and PAMF’s share of the capitated

16 payment, resulting in overpayments from CMS. See U.S. v. Bornstein, 423 U.S. 303, 312-13

17 (1976) (a subcontractor’s FCA penalties are calculated based on the number of false claims

18 submitted to a contractor, and not the number of false claims the subcontractor caused the
19 contractor to submit to the Government).

20          8.      Sutter and PAMF embarked on a campaign to maximize the number of risk-

21 adjusting diagnosis codes that were reported to the MA Organizations, thus increasing the CMS

22 payment to those MA Organizations, and in turn, to Sutter and PAMF, regardless of whether

23 those codes accurately reflected the patients’ documented medical conditions. This campaign

24 originated at the executive levels of Sutter and PAMF, with the goal of maximizing

25 reimbursements from CMS for patients enrolled in MA Plans.

26          9.      Sutter and PAMF recklessly pursued this aggressive course without any

27 meaningful training programs for their affiliated physicians relating to preventing Part C fraud,

28 waste, or abuse. Sutter and PAMF also had ineffective compliance programs that did not guard
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 1 against the submission of erroneous, invalid, unsupported or otherwise false diagnosis codes. To

 2 the contrary, Sutter and PAMF encouraged physicians to code diagnoses aggressively and, in

 3 many instances, improperly in order to maximize Medicare reimbursements.

 4          10.     From no later than January 1, 2010 through at least January 31, 2016, Sutter and

 5 PAMF engaged in aggressive coding practices that resulted in the systematic submission of false

 6 risk-adjusting diagnosis codes to the MA Organizations. In so doing, Sutter and PAMF

 7 knowingly ignored numerous red flags regarding false claims, statements, records and

 8 overpayments, raised by audits conducted by their own employees, feedback provided by
 9 physicians treating MA patients, and audits and warnings by MA Organizations. Instead of

10 reimbursing CMS for the overpayments, conducting further audits, and funding compliance and

11 training programs, Sutter and PAMF turned a blind eye to these red flags and doubled down on

12 their scheme to increase risk-adjusting diagnosis codes. Sutter and PAMF knew that the

13 diagnosis codes being submitted to CMS were rife with errors and knew that the submission of

14 these false risk-adjusting codes would inflate Sutter and PAMF’s share of the Medicare Part C

15 payments.

16          11.     This scheme gives rise to FCA claims against Sutter and PAMF for submitting

17 and causing the submission of false claims in violation of 31 U.S.C. § 3729(a)(1)(A), using and

18 causing the use of false records and statements material to false claims in violation of § 3729(a)
19 (1)(B), using and causing the use of false records and statements material to the obligation to

20 repay overpayments in violation of § 3729 (a)(1)(G), and avoiding the obligation to repay

21 overpayments in violation of § 3729(a)(1)(G).

22                                         THE PARTIES

23          12.     Plaintiff is the United States of America, suing on behalf of the United States

24 Department of Health and Human Services (“HHS”), which includes its operating division,

25 CMS. At all times relevant to this Complaint, CMS administered and supervised the Medicare

26 Part C Program and made risk-adjustment payments under Part C of the Program. The United

27 States filed its notice of intervention in this action on December 4, 2018.

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 1          13.     The qui tam relator, Kathy Ormsby, filed an action alleging violations of the FCA

 2 on behalf of herself and the United States Government pursuant to the qui tam provisions of the

 3 FCA on March 6, 2015. See 31 U.S.C. § 3730(b). Ormsby is a citizen of the United States and a

 4 resident of the State of Nevada. As detailed herein, Ormsby was hired on May 6, 2013, by

 5 Sutter’s affiliate, PAMF, as the Risk-Adjustment Project Manager to help support a RAF (Risk-

 6 Adjustment Factor) initiative at PAMF. Her job responsibilities changed almost immediately

 7 after she started working at PAMF, when she saw that Sutter had no program to comply with its

 8 obligations to provide accurate risk-adjustment data under the Medicare Advantage program.
 9 With the new title of RAF Manager, Ormsby began attempting to develop a compliant RAF

10 program at PAMF, including conducting audits of PAMF’s diagnosis code submissions to MA

11 Plans. She also recruited, trained and supervised a team of certified coders whose function,

12 among others, was to audit the accuracy of PAMF’s diagnosis coding and medical record

13 documentation. Coders situated in-house at a healthcare provider generally review clinical

14 evidence, specifically the medical record, to ensure that it meets all of the appropriate

15 documentation requirements, and that accurate diagnosis codes are assigned for input into the

16 billing system. Ormsby has personal knowledge of the fraud at Sutter and PAMF. On May 7,

17 2015, Ormsby left PAMF for another position.

18          14.     Defendant Sutter Health is a California non-profit corporation with headquarters

19 in Sacramento County, California. Sutter owns, controls and/or operates affiliated hospitals and

20 physician foundations throughout California, including PAMF.

21          15.     Defendant Palo Alto Medical Foundation is an affiliate of Sutter with

22 headquarters in Palo Alto, California. PAMF is a non-profit corporation with over 4,000

23 employees at locations in Alameda, San Mateo, Santa Clara, and Santa Cruz. Sutter controls

24 PAMF, including through overlapping corporate governance boards and executive officers.

25                                 JURISDICTION AND VENUE

26          16.     This Court has subject matter jurisdiction over this action per 28 U.S.C. § 1345

27 because the United States is the Plaintiff. In addition, the Court has subject matter jurisdiction

28 over FCA claims for relief under 31 U.S.C. § 3732(a) and (b).
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 1          17.     This Court has personal jurisdiction over Defendants under 31 U.S.C. § 3732(a)

 2 because at least one of the Defendants can be found in, resides in, and transacts business in this

 3 District, or has committed the alleged acts in this District.

 4          18.     Venue lies in this District under 28 U.S.C. § 1391(b), (c) and 31 U.S.C. § 3732(a)

 5 because the Defendants can be found in and transact business in this District, a substantial part of

 6 the events or omissions giving rise to the claims occurred in this District, and all of the

 7 Defendants are subject to the Court’s jurisdiction under the FCA.

 8                                     THE FALSE CLAIMS ACT

 9          19.     The FCA is the primary civil remedial statute designed to deter fraud upon the

10 United States and reflects Congress’s objective to “enhance the Government’s ability to recover

11 losses as a result of fraud against the Government.” S. Rep. 99-345, at 1, as reprinted in 1986

12 U.S.C.C.A.N. 5266. “The Medicare Advantage capitation payment system is subject to the False

13 Claims Act.” United States ex rel. Silingo v. WellPoint, Inc., 904 F.3d 667, 673 (9th Cir. 2018).

14          20.     First, a defendant violates the FCA when it “knowingly presents, or causes to be

15 presented, a false or fraudulent claim for payment or approval.” 31 U.S.C. § 3729(a) (1)(A). As

16 pertinent to this case, the term “claim” under Section 3729(b)(2) of the FCA includes “(A) . . .

17 any request or demand, whether under a contract or otherwise, for money . . . that . . . (ii) is made

18 to a contractor, grantee, or other recipient, if the money or property is to be spent or used on the
19 Government’s behalf or to advance a Government program or interest, and if the United States

20 Government—(I) provides or has provided any portion of the money . . . requested or demanded;

21 or (II) will reimburse such contractor, grantee, or other recipient for any portion of the money

22 which is requested or demanded.” Id. § 3729(b)(2).

23          21.     Second, a defendant violates the FCA when it “knowingly makes, uses, or causes

24 to be made or used, a false record or statement material to a false or fraudulent claim.” Id.

25 § 3729(a)(1)(B).

26          22.     Third, a defendant violates the FCA when it “knowingly makes, uses, or causes to

27 be made or used, a false record or statement material to an obligation to pay or transmit money

28 or property to the Government, or knowingly conceals or knowingly and improperly avoids or
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 1 decreases an obligation to pay or transmit money or property to the Government.” Id. §

 2 3729(a)(1)(G). The FCA defines the term “obligation” to include “the retention of any

 3 overpayment.” Id. § 3729(b)(3).

 4          23.     Upon learning of a false diagnosis code resulting in an MA overpayment from

 5 CMS, the duty exists to delete or otherwise withdraw that code. See United States ex rel.

 6 Swoben v. United Healthcare Ins. Co., 848 F.3d 1161, 1176–77 & n.8 (9th Cir. 2016). So doing

 7 would result in CMS’s electronic processing system recalculating the payment amount, which is

 8 the first step in CMS’s process to recoup the overpayment. The failure to delete or withdraw
 9 these false codes after notice thereof constitutes the knowing retention of an overpayment in

10 violation of 31 U.S.C. § 3729(a)(1)(G).

11          24.     Under the FCA, the terms “knowing” and “knowingly” include “actual

12 knowledge of the information,” “deliberate ignorance of the truth or falsity of the information,”

13 or “reckless disregard of the truth or falsity of the information,” and “require no proof of specific

14 intent to defraud.” Id. § 3729(b)(1)(A),(B). Congress intended that the terms “knowing” and

15 “knowingly” “reach what has become known as the ‘ostrich’ type situation where an individual

16 has ‘buried his head in the sand’ and failed to make simple inquiries which would alert him that

17 false claims are being submitted.” S. Rep. No. 99-345, at 21, as reprinted in 1986 U.S.C.A.N.

18 5266, 5286 (quotations in original.) “It is intended that persons who ignore ‘red flags’ that the
19 information may not be accurate or those persons who deliberately choose to remain ignorant of

20 the process through which their company handles a claim should be held liable under the Act.”

21 H. Rep. No. 99-660, at 21 (1986) (to accompany False Claims Act of 1986, H.R. 4827). As used

22 in this Complaint, the terms “knowing” and “knowingly” have the meaning ascribed to them by

23 the FCA, as do their derivatives “knowledge,” “known,” and “knew.”

24          25.     The term “material,” as used in the FCA, “means having a natural tendency to

25 influence, or be capable of influencing, the payment or receipt of money or property.” 31 U.S.C.

26 § 3729(b)(4).

27          26.     The FCA imposes liability of treble damages plus a civil penalty for each false

28 claim in an amount (as pertinent here) not less than $5,500 and not more than $11,000 for claims
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 1 submitted prior to August 1, 2016; not less than $10,781 and not more than $21,563 for claims

 2 submitted between August 1, 2016 and February 3, 2017, and as appropriately statutorily

 3 adjusted for inflation each successive year under the Bipartisan Budget Act of 2015, Pub. L. 114-

 4 74, § 701, 129 Stat. 584, 599-601 (2015). See 31 U.S.C. § 3729(a)(1).

 5          THE MEDICARE ADVANTAGE SYSTEM AND THE ROLE OF PROVIDERS

 6          27.     Medicare is a federally-operated health insurance program administered by CMS

 7 benefiting individuals 65 and older and the disabled. See 42 U.S.C. § 1395c et seq. Parts A and

 8 B of the Medicare Program are known as “traditional” Medicare. Part A covers inpatient and
 9 institutional care. Part B covers physician, hospital, outpatient, and ancillary services and

10 durable medical equipment. Under Medicare Parts A and B, CMS reimburses healthcare

11 providers using the fee-for-service system, in which providers submit claims to CMS for

12 healthcare services actually rendered, such as a physician office visit or hospital stay. CMS then

13 pays the providers directly for each service based on payment rates pre-determined by the

14 Government.

15          28.     Under Medicare Part C, Medicare beneficiaries may opt out of “traditional”

16 Medicare and instead may enroll in MA Plans and receive healthcare services managed by those

17 Plans. The MA Plans are run by MA Organizations, which are often private insurers. See 42

18 C.F.R. §§ 422.2, 422.503(b)(2). Many MA Organizations contract with hospital networks,
19 physician groups, and other providers, such as Sutter and PAMF, to furnish healthcare services

20 under the MA Plans.

21          29.     Pursuant to Medicare regulations, Sutter and PAMF are classified as “first tier

22 entities” and “related entities.” See id. §§ 422.2 & 422.500. A first tier entity “means any party

23 that enters into a written agreement, acceptable to CMS, with an MA organization . . . to provide

24 . . . healthcare services for a Medicare eligible individual under the MA program.” Id., §§ 422.2.

25 A related entity “means any entity that is related to the MA organization by common ownership

26 or control and (1) [p]erforms some of the MA organization’s management functions under

27 contract or delegation; [or] (2) [f]urnishes services to Medicare enrollees under an oral or written

28 agreement . . . .” Id. First tier and related entities such as Sutter and PAMF must, among other
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 1 things, perform their services in a manner that complies with the MA Organization’s contractual

 2 obligations to the Government, id. at 422.504(i)(3)(iii); agree to “comply with all applicable

 3 Medicare laws, regulations, and CMS instructions,” id. at 422.504(i)(4)(v); and receive effective

 4 compliance training and education relating to preventing fraud, waste, and abuse, id. at § 422.

 5 503(b)(4)(vi)(C)(1). Furthermore, if a related entity or first tier entity generates data relating to

 6 an MA Organization’s claims for payments from the MA Program, it (as well as the MA

 7 Organization) must certify the accuracy and truthfulness of that data. Id. at § 422.504(l)(3).

 8                  MEDICARE PART C RISK-ADJUSTMENT PAYMENTS

 9          30.     In Medicare Part C, the Government pays to each MA Organization a fixed,

10 capitated (per beneficiary enrollee in each MA Plan) amount, adjusted by the expected risk of

11 each beneficiary, on a monthly basis for the provision of items and services that are covered for

12 Medicare beneficiaries under Parts A and B of the Social Security Act. This per-member, per-

13 month payment does not depend on the amount of healthcare services provided to an

14 enrollee. Each year this payment is based on a bidding process with CMS, in which each MA

15 Plan, through an MA Organization, submits a bid amount, which is then compared to an

16 administratively set benchmark set by CMS based on a statutory formula. See 42 U.S.C.

17 § 1395w-23; see also 42 C.F.R. § 422.2, subparts F and G. Since 2000, Congress has required

18 that the capitated payments be adjusted for each MA Plan enrollee based on (1) each enrollee’s
19 demographic factors such as age, and gender, among others, and (2) each enrollee’s health

20 status. See 42 U.S.C. § 1395w-23 (a)(1)(C). This is known as risk adjustment, and the risk

21 score, sometimes referred to as the risk-adjustment factor or “RAF,” acts as a multiplier that is

22 applied to the MA Organization’s bid for covering Part A and B services. 42 U.S.C. § 1395w-

23 23(a)(1)(G) and 42 C.F.R. § 422.308(e).

24          31.      The Secretary of HHS has the authority to determine the risk-adjustment

25 methodology. See id. Since 2004, CMS has employed an HCC model to calculate a risk score

26 for each beneficiary in an MA Plan. As directed by Congress, the HCC model takes into account

27 demographic factors and health status. With respect to health status, the HCC model relies on

28 diagnosis codes documented by authorized health care providers, e.g., physicians in patient
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 1 encounters during office visits and hospital outpatient and inpatient stays. In fact, diagnoses are

 2 the sole determinant in the calculation of any risk-adjustment payment based on a beneficiary’s

 3 health status.

 4          32.     The ICD classifications set forth the standards accepted by CMS and the

 5 healthcare industry for the identification of diagnosis codes for health conditions. See 45 C.F.R.

 6 § 162.1002(a)(1)(i), (b)(1), (c)(2)(i) ; 42 C.F.R. § 422.310 (d)(1); CMS, Medicare Managed

 7 Care Manual Chapter 7, Exhibit 30 (Rev. 57, Aug. 13, 2004). ICD codes are alphanumeric

 8 codes used by the healthcare providers, insurance companies and public health agencies to
 9 represent diagnoses; every disease, injury, infection and symptom has its own code. The

10 applicable standards for these ICD diagnosis codes are set forth in the International

11 Classification of Diseases, Ninth Revision, Clinical Modification (“ICD-9”) through October 1,

12 2015, and thereafter the International Classification of Diseases, Tenth Revision, Clinical

13 Modification (“ICD-10”). To ensure accuracy, the patient’s diagnoses must result from a face-

14 to-face encounter between physician and patient during the relevant year and must be

15 appropriately documented in the patient’s medical record at the time of the encounter. In

16 addition, codes should be based on documented conditions that require or affect patient care

17 treatment or management. See CMS, Medicare Managed Care Manual Chapter 7, § 111.8 (Rev.

18 57, Aug. 13, 2004), see also CMS, 2008 Risk Adjustment Data Technical Assistance for
19 Medicare Advantage Organizations Participant Guide (2008).

20          33.     The HCCs are categories of clinically-related medical diagnoses including major,

21 severe, and/or chronic illnesses. See 42 C.F.R. § 422.2. Each HCC correlates with the marginal

22 predicted cost of medical expenditures for that set of medical conditions based on CMS’s data

23 from administering the traditional Medicare Fee-For-Service program. Higher relative values

24 (sometimes referred to as a relative factor, multiplier, or coefficient) are assigned to HCCs that

25 include diagnoses with greater disease severity and treatment costs. Between 2004 and 2013,

26 there were 70 HCCs in the Part C risk-adjustment model, and starting in 2014 that number

27 increased to 79, as CMS revised its risk-adjustment model. A single beneficiary may have none,

28 one, or multiple HCCs. Some examples of HCC codes are HIV/AIDS (HCC 1), metastatic
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 1 cancer and leukemia (HCC 8), congestive heart failure (HCC 80), and ischemic stroke (HCC

 2 100). HCC numerical codes changed between the 2004-13 model (known as Version 12) and the

 3 2014 model (known as Version 22). The numerical examples of HCC codes cited herein are

 4 from the Version 22 model.

 5          34.     The HCC model is prospective, meaning that it relies on risk-adjusting diagnosis

 6 codes from dates of service by a provider in one year (the “date of service year”) to determine

 7 payments in the following year (the “payment year”). Each MA Plan beneficiary’s risk score is

 8 calculated anew for the following year. The higher a MA Plan beneficiary’s risk score, the
 9 higher the payments by CMS to the MA Organizations. The MA Organization then distributes a

10 contractually-determined percentage of these payments to providers such as Sutter and PAMF.

11 Thus, the risk-adjusting diagnosis codes that map to HCC codes submitted by Sutter and PAMF

12 materially impact the amount of the payments CMS makes to an MA Organization, and

13 therefore, to Sutter and PAMF.

14          35.     Illustrating this process as pertinent to Sutter and PAMF, generally after a face-to-

15 face encounter between a physician and an MA Plan patient, the provider (generally the

16 physician and/or coder) (1) documents the encounter in the patient’s electronic medical record,

17 (2) assigns the diagnosis reflecting the patient’s medical conditions and uses the capabilities of

18 the electronic medical record to assign the appropriate ICD diagnosis codes, and (3) adds those
19 diagnosis codes into Sutter’s electronic records system. The diagnosis codes are transmitted

20 electronically to the MA Organizations through either an electronic data submission after a

21 patient encounter or through a monthly process in the electronic records system known at Sutter

22 and PAMF as “sweeping” or “sweeps.” In turn, the MA Organizations electronically submit

23 these codes to CMS. CMS maps each beneficiary’s diagnosis codes to HCCs (i.e., the risk-

24 adjusting diagnosis codes), and then calculates each beneficiary’s risk score to apply to the

25 payment calculation and determine the reimbursement.

26          36.     Regulations and guidance made clear to MA Organizations and providers such as

27 Sutter and PAMF that CMS relies on the risk-adjusting diagnosis codes submitted by providers

28 to determine and make accurate capitation payments for each patient enrolled in the Part C
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 1 Program. “Accurate risk-adjusted payments rely on the diagnosis coding derived from the

 2 member’s medical record.” See, e.g., 42 C.F.R. § 422.504(l)(3); CMS, 2013 National Technical

 3 Assistance Risk Adjustment 101 Participant Guide 13 (2013).

 4          37.     MA Organizations can delete diagnoses from both the Risk-Adjusting Processing

 5 System (“RAPS”) and Encounter Data System (“EDS”) to comply with their obligation to delete

 6 known erroneous, invalid, unsupported or otherwise false diagnosis codes previously submitted

 7 to CMS. Similarly, Sutter and PAMF also have an obligation to delete these false codes in their

 8 systems. Doing so should cause the MA Organizations to delete those codes in the RAPS
 9 system, and thereby cause CMS to adjust the RAF score for the patient downward and the

10 capitated payment downward as well.

11        SUTTER AND PAMF’S KNOWLEDGE AND POLICIES RELATING TO RAF

12          38.     At all times relevant to this Complaint, Sutter and PAMF knew the importance of

13 risk adjustment and the workings of CMS’s RAPS and EDS data systems, including but not

14 limited to: (1) how the HCC model calculated a beneficiary’s risk score; (2) regular changes to

15 the HCC model; (3) the ICD classification system for diagnoses codes; (4) the mapping of risk-

16 adjusting diagnosis codes to HCCs; (5) the importance of these risk-adjusting diagnosis codes in

17 determining each beneficiary’s risk score; (6) the direct relationship between a beneficiary’s risk

18 score and the ultimate payments to Sutter and PAMF; (7) the requirements that each diagnosis
19 code in a patient’s records must result from a face-to-face encounter between health care

20 provider and patient and be documented in the patient's medical records; (8) the importance of

21 these requirements to payment under the Medicare Advantage program; and (9) the duty to

22 delete known invalid, false or unsupported diagnosis codes and return overpayments to CMS.

23          39.     A December 2013 outline authored and provided by Kathy Ormsby to Sutter and

24 PAMF executives described the importance of PAMF physicians capturing all of the risk-

25 adjusting patient diagnosis codes, stating:

26                  Medicare Advantage plans rely entirely on the Hierarchical

27                  Condition Category for reimbursement.       Because of this, it is

28                  essential for Medicare Advantage plans to ensure providers capture
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 1                  the complete diagnostic profile of every Medicare Advantage

 2                  patient . . . Medicare Advantage plans must capture HCCs

 3                  conditions annually. When documentation does not support the

 4                  chronic condition(s), and no identification of HCCs has taken place,

 5                  no reimbursement will be collected from

 6                  Medicare.

 7          40.     Sutter and PAMF also regularly tracked RAF data relating to (1) their MA patient

 8 population and how their average risk scores compared to state and national benchmarks, (2) a
 9 “prevalence” rate identifying the percentage of MA Plan patients assigned certain especially

10 lucrative codes, and (3) the “HCC Recapture Rate” and “HCC Score Comparison” designed to

11 track the performance of “acuity capture and reporting” by PAMF physicians. These data

12 metrics were summarized on a “RAF Dashboard” which was widely distributed throughout

13 Sutter and PAMF, including to Julie Cheung (Sutter’s RAF Program Manager) and Roger Larsen

14 (PAMF’s Chief Financial Officer and also a Sutter Regional Vice President of Finance). Larsen

15 followed and at times commented on these tracking numbers.

16          41.     Sutter and PAMF used this “acuity capture and reporting” metric not just to track

17 the extent to which their physicians were “capturing” all possible risk-adjusting diagnosis codes

18 for each MA Plan patient, but also to determine how well the coders and others were ensuring
19 that the physicians aggressively captured these codes. At times, PAMF management permitted

20 “[t]he coder . . . to make correction[s] per Management discretion” to ensure capturing diagnosis

21 codes not recorded by a doctor in the patient's medical records during a patient encounter. Sutter

22 also distributed a “Critical Pathway Chart” to physicians summarizing “seven critical activities”

23 at the “pre-visit,” “point of care,” and “post visit” stages of each patient’s “face-to-face

24 encounter” with a PAMF doctor that “must be performed to maximize outcomes for HCC

25 capture and reporting.” Sutter and PAMF engaged in numerous strategy meetings to achieve

26 these goals.

27          42.     Sutter was acutely aware that it had an obligation to report and return

28 overpayments to CMS. Sutter’s written policies and procedures required Sutter and its affiliates
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 1 including PAMF to return overpayments to CMS. “Overpayment Refund, 13-540 . . .

 2 POLICY[:] Sutter Health and its Affiliates will report and refund overpayments from state and

 3 federal health care programs within 60 days of identification, or the due date for any applicable

 4 reconciliation” (emphasis in original.) This policy also required that “[a]s appropriate, Sutter

 5 Health and its affiliates will take remedial steps to prevent identified overpayments from

 6 recurring.” The policy defined “Overpayment” to include “incorrect code or modifier

 7 assignment resulting in a higher level of reimbursement, insufficient or lack of documentation to

 8 support billed services . . . lack of medical necessity, . . . or any other finding that reflects an
 9 overpayment was received as a result of inaccurate or improper coding or reporting of healthcare

10 items or services” (emphasis in original.)

11          43.     Sutter and PAMF knew that Medicare and ICD guidelines required them to

12 properly document the diagnosis codes in a patient’s medical records. Ormsby, as part of her

13 responsibilities as PAMF’s RAF Manager, developed an approved coding guide which was

14 distributed to all of the certified coders who worked on RAF issues at PAMF, encapsulating

15 CMS’s guidance for coding and documentation. In that guide, and also during training, Ormsby

16 explained that to be documented properly as a diagnosis code the medical condition must be

17 monitored, evaluated, and assessed or treated at a face-to-face encounter between the health care

18 provider and patient. To avoid over-coding, the guide identified some of the common coding
19 pitfalls that may result in false coding. These include warnings that (1) physicians should not

20 code conditions without documentation in the medical records, (2) physicians should not code a

21 condition as active or chronic if there is just a “history of” the condition without any

22 management, evaluation, assessment and treatment in the current calendar year, and (3)

23 diagnoses should be documented and coded to the highest level of specificity.

24                          SUTTER AND PAMF’S AGGRESSIVE CAMPAIGN

25                                TO MAXIMIZE REIMBURSEMENTS

26          44.     Beginning no later than 2010, Sutter and PAMF began a campaign to increase the

27 number of risk-adjusting diagnosis codes for its MA patients, in order to generate revenue and

28 maximize reimbursements from CMS. This effort became known as the RAF Campaign.
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 1 Discussing the early stages of the RAF Campaign, Dr. Steven Lane (a physician in PAMF’s

 2 network and PAMF’s Electronic Health Record Ambulatory Physician Director), in a January 3,

 3 2012 email with the subject line “HCC codes: more to consider as chronic?,” explained, “Over

 4 the past year or two . . . increasing attention has been focused on the importance of appropriately

 5 identifying and coding HCC diagnoses to improve RAF scores and Medicare managed care

 6 reimbursement . . .”. Sutter and PAMF believed that doing so would be “worth tens of millions

 7 of dollars to the enterprise” that had been so far “left on the table” and tasked Nancy McGinnis

 8 (Sutter’s RAF Director) “to lead the efforts to improve Sutter Health’s RAF scores.” By 2012,
 9 PAMF physicians and management were discussing the “urgency that the upper echelon of

10 Sutter feels for the need to enhance our HCC RAF scores.”

11          45.    As part of the RAF Campaign, Sutter and PAMF identified so-called “Physician

12 Champions” to “act as a liaison between the coding team and the physicians” on the theory that

13 physicians would be more likely to accept diagnosis coding guidance from other physicians.

14 With respect to PAMF, Dr. Veko Vahamaki, PAMF’s Lead RAF Physician Champion,

15 supervised the champions at PAMF’s four divisions in Alameda (Dr. Amy Lin), Camino (Dr.

16 Graham Dresden), Palo Alto (Dr. Anita Gupta), and Santa Cruz (Dr. Susan Schaefer). The

17 Physician Champions received additional pay from Sutter for this work, and encouraged

18 aggressive coding with management approval.
19          46.     Sutter and PAMF understood and openly acknowledged that the Physician

20 Champions were key to increasing Part C reimbursements. In late 2011, Dr. Jeffrey Burnich

21 (Sutter Senior Vice President and Executive Officer) widely distributed a “RAF Program

22 Summary” at Sutter and PAMF describing, among other things, the importance of the Physician

23 Champions’ role in increasing RAF scores. A few months later, in February 2012, Burnich

24 expressed concern to Suzy Cliff (PAMF’s Vice President of Revenue Cycle) and other

25 management that PAMF, in particular, was “leaving millions of dollars on the table” from what

26 he termed “sub-par coding.” A couple of days thereafter, a member of Sutter leadership required

27 PAMF to “identify a PAMF operational director to work with them in improving our RAF

28 scoring/coding on our Medicare Advantage patients.”
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 1          47.     In September 2012, Dr. Jeffrey Brown (PAMF’s Associate Medical Director for

 2 Managed Care) designed a “coding party” to improve MA patients’ risk scores. This had been a

 3 “pilot” project at PAMF, and, in a follow-up email to PAMF executives Kris Anne Crow

 4 (Director of Coding and Education for PAMF) and Cliff, Brown highlighted that “PAMF does

 5 not have the luxury of taking a few years to get HCC initiatives off the ground and running,”

 6 noted “we are not making progress fast enough,” and asked to review the data from the pilot so

 7 that “[i]f the data looks good we need to spread this quickly to the rest of the organization.”

 8          48.     By November 2012, Sutter and PAMF had formalized the RAF Campaign, calling

 9 it the “Risk Adjusted Factor Project.” The Project’s goal was “to reach a 28% improvement in

10 the HCC performance” for its MA Plan patients. By late 2012, Sutter and PAMF outlined new

11 steps in furtherance of this goal, including approving the hiring of a “Project Manager” to

12 coordinate the RAF Campaign and a “Database Analyst” to track the diagnostic coding

13 performance of network physicians. Sutter also asked coders in all of its affiliates, including

14 PAMF, to schedule annual “Medicare Wellness Exams” for MA Plan patients lacking any risk-

15 adjusting diagnosis codes to ensure the capture of every possible code that could increase CMS’s

16 payments. Sutter also tracked the success of each affiliate, including PAMF, in scheduling the

17 Medicare Wellness Exams and rewarded meeting a goal of 75% annual wellness visits with a 1%

18 upside bonus at the group level. Sutter and PAMF understood that “capturing more wellness
19 exams” increased the capture of risk-adjusting diagnosis codes and thus increased revenue.

20          49.     Also, in November 2012, Brown approved coders adding risk-adjusting diagnosis

21 codes to patient medical records that had been missed by physicians during their patient

22 encounters. Dr. Vahamaki called this a “pit crew plan” and believed it “would significantly help

23 with the RAF efforts.” Vahamaki, who possessed significant influence in the RAF Campaign

24 due to his position as a Physician Champion supervisor, defended this approach in response to

25 Dr. Christopher Jaegar’s (a Sutter Vice President and also its Chief Medical Informatics Officer)

26 concern that “having a coder change an entry that I purposefully enter that has clinical meaning

27 to me/others . . . seems like a dangerous step,” and forwarded this exchange to Julie Cheung

28 (Sutter’s RAF Program Manager).
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 1          50.    In addition, at this time some PAMF physicians began to receive “HCC/RAF

 2 cheat sheets” to make it even easier to capture the lucrative diagnosis codes. The cheat sheets

 3 identified the risk-adjusting diagnosis codes that were common to many MA Plan patients (such

 4 as diabetes). The cheat sheets were used to pressure physicians to add these codes into the

 5 patient’s electronic medical records even during encounters focusing on other patient healthcare

 6 problems.

 7          51.    Sutter-affiliated physicians, including those at PAMF, also received a customized

 8 “Problem List” for their MA Plan patients through Sutter’s electronic medical record system. A
 9 Problem List is a list of health problems with the corresponding diagnosis codes and can be used

10 as a high-level summary of a patient’s past health problems. Sutter and PAMF management

11 used the Problem Lists to pressure physicians to add risk-adjusting diagnosis codes that had not

12 been “captured” during past patient encounters and to refresh risk-adjusting diagnosis codes that

13 were not captured in the current year. To make this as easy as possible for the physicians, at

14 management’s direction coders or Physician Champions pre-populated the Problem Lists with

15 lucrative diagnosis codes and the Problem Lists auto-flagged these codes with “a red pushpin

16 icon” that served as a “visual reminder” for the physician to examine the patient with that

17 diagnosis code in mind. To document a diagnosis code in a patient’s medical records, all the

18 physician then needed to do was electronically move the diagnosis code from the Problem List to
19 the patient encounter part of the electronic medical record. At times, disputes arose over the pre-

20 population of the Problem Lists. One typical dispute involved instances in which physicians or

21 PAMF employees did not believe that patient diagnoses qualified as chronic and thus should not

22 be captured to increase RAF scores, while management disagreed and often “err[ed] on the side

23 of including the [diagnoses] as chronic.”

24          52.    Over time, Sutter and PAMF took this practice even further and began to pre-

25 populate the encounter itself with risk-adjusting diagnosis codes. Physicians expressed the

26 concern that risk-adjusting diagnoses appeared in patient medical records before the physician

27 ever saw the patient. Yet, these risk-adjusting diagnosis codes appeared in the patient records

28 notwithstanding what health conditions were managed, evaluated, assessed or treated by the
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 1 physician during the actual patient encounter. Physicians were also concerned that they did not

 2 know how to delete incorrect diagnoses from their patient’s documentation (see, e.g., ¶ 96 infra).

 3 Despite these concerns, Sutter and PAMF did not ensure that false diagnoses were appropriately

 4 deleted from the electronic medical record and not submitted for reimbursement to MA

 5 Organizations and CMS.

 6          53.     In early 2013, Brown sent letters to physicians with more than “20 MA patients . .

 7 . asking those with higher than PAMF average HCC scores what they thought helped them in

 8 HCC coding and ask[ing] those with lower than PAMF average scores what the barriers to HCC
 9 coding were.” He compiled these results in a survey distributed to Sutter and PAMF executives

10 in March 2013, including Cheung and McGinnis of Sutter and Larsen, Cliff and Crow of PAMF.

11 The survey found that for the above-average physicians, auto-flagging of diagnosis codes in the

12 Problem Lists and the HCC/RAF cheat sheets (called in the survey, the “HCC code tip sheet”)

13 especially helped increase coding. On the other hand, the below-average coding physicians

14 focused on patient care and treatment rather than on coding as exemplified by this statement, “I

15 do not address longstanding stable or prior conditions when that is not important to the care

16 being delivered at the moment.” In the survey, Brown classified that statement as among the

17 “Barriers to Better Coding.”

18          54.     Sutter and PAMF’s data-mining practices also played an important role in the

19 RAF Campaign. Using data mining, Sutter and PAMF “pushed” their physicians through

20 messages in the electronic medical record to find and refresh especially high-paying risk-

21 adjusting diagnosis codes to increase patients’ RAF scores. Similarly, PAMF physicians

22 received “queries” in the electronic medical record from coders reminding the physicians to

23 ensure that all such diagnostic codes were captured. Numerous physicians disliked this practice

24 and felt “pressured” to add diagnosis codes that they did not believe to be clinically accurate or

25 relevant. Further, PAMF coders met one-on-one with physicians to discuss their diagnosis

26 coding. During these meetings, the auditors at times encouraged the physicians to addend their

27 patient records and add risk-adjusting diagnosis codes. An addendum to the medical record is a

28 note drafted by a physician or other medical professional that clarifies or amends a previous note
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 1 made by that same professional, typically within 30 days of the encounter. Some physicians,

 2 such as Drs. Williams and Wong, when prompted to addend records from a prior year, thought it

 3 was unethical to be asked to addend old face-to-face encounters. The coders also laid out a plan

 4 to address other risk-adjusting diagnosis codes with PAMF physicians, including for major

 5 depression, cachexia, protein calorie malnutrition, morbid obesity and COPD. Those diagnosis

 6 codes were viewed as “high potential missed opportunity [to] increase RAF score.”

 7          55.     In August 2013, physicians in PAMF’s network began receiving “daily alert”

 8 forms for the MA Plan patients on each physician’s schedule that day. The daily alerts identified
 9 “what HCC codes have not yet been captured this year for the patient[s].” Those codes included

10 not just previously diagnosed conditions, but also conditions that data mining software, using an

11 algorithm, “suspects” a patient may have. The focus of the daily alerts was on pressuring

12 physicians to increase RAF scores rather than on improving coding accuracy or meeting the

13 clinical needs of patients.

14          56.     In addition to the daily alerts, each physician received a weekly list of MA

15 patients scheduled to see them that week and a monthly report of MA Patients needing to

16 schedule Medicare Wellness Exams by year end. The purpose of these forms was to “aid in your

17 capturing of chronic conditions.” In response, physicians raised concerns about this pressure and

18 requested that the messages from RAF coders be “nicer.”
19          57.     Also, by August 2013, PAMF executives including Cliff and Vahamaki also

20 received these daily alerts, the weekly lists, and the monthly reports in order to interact with and,

21 if necessary, pressure PAMF physicians to increase diagnosis coding during their MA Plan

22 patient encounters. One way PAMF management would do this was to have a coder review a

23 physician’s documentation after a patient encounter and identify any overlooked risk-adjusting

24 diagnosis codes. The coder would then tell the physician to confirm the addendum in the

25 patient’s medical records. For example, in August 2013, Vahamaki developed “Dr. V’s PCP

26 [primary care physician] Audit Letter Template,” explaining, “The diagnostic coding team has

27 added this code to your visit as an addendum . . . Please email back to confirm that this patient

28 has this diagnosis.”
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 1          58.    Sutter and PAMF’s RAF Campaign achieved results. The RAF Campaign set a

 2 goal of capturing 80% of risk-adjusting diagnosis codes within its HCC focus areas: chronic

 3 obstructive pulmonary disease, diabetes, and vascular disease. For example, the “Diagnostic

 4 Coding Champions Meeting Minutes” for the August 13, 2013 meeting attended by most of

 5 PAMF’s senior executives identified “gains” over the past two months in these “3 Key Areas” of

 6 coding and compared the performance among PAMF’s four divisions. Also, Sutter data from

 7 early 2014 showed $4.4 million in revenue gains from the RAF Campaign in comparing year-

 8 end results for 2013 with 2012. Further, in March 2015, Sutter reported “a 20% overall system
 9 wide increase” in the RAF risk scores of MA Plan patients, including increases at all four of

10 PAMF’s divisions between 15% and 23% that were expected to achieve $4.173 million in

11 additional Medicare reimbursements.

12                 RED FLAG – POOR RESULTS IN MA ORGANIZATION AUDITS

13          59.    Each MA Organization, contractually through its provider agreement, requires

14 Sutter and its affiliates, including PAMF, to participate and cooperate in medical chart reviews

15 and audits conducted by the MA Organization or other related entities. The results of an audit

16 and medical chart review by United Health Group (“UHG”), an MA Organization, and Optum (a

17 UHG affiliate) raised red flags for Sutter and PAMF concerning false risk-adjusting diagnosis

18 codes for dates of service in 2010, 2011 and 2012.
19          60.    In particular, UHG conducted a “Risk-Adjustment Coding Compliance Review”

20 (“RACCR”) audit, which is a retrospective medical chart review focusing on so-called “outlier”

21 risk-adjusting diagnosis codes that the provider being examined submitted much more frequently

22 than the industry average among other large providers. UHG and Optum auditors identified

23 HCC 82 (acute myocardial infarction, or heart attack) as an outlier and determined that 27 out of

24 30 of the patient records containing diagnosis codes mapping to this HCC were erroneous,

25 invalid, unsupported or otherwise false in one audit (a 90% failure rate) in October 2012. A later

26 audit found that six out of seven patient records contained underlying diagnosis codes that were

27 similarly false (an 86% failure rate).

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 1          61.     With respect to the October 2012 audit with the 90% failure rate, Sutter and

 2 PAMF leadership, including Larsen and Brown (PAMF’s Associate Medical Director for

 3 Managed Care), knew of these findings. At a December 2012 “PAMF Coding and Compliance

 4 Committee” meeting, Larsen lamented about “the negative impact to our reimbursement”

 5 resulting from deleting these codes in the medical records due to the audit results. But, rather

 6 than taking steps to determine whether other records contained similarly false diagnosis codes,

 7 the supposed “compliance committee” deliberately decided not to perform any follow-up audits.

 8 Crow admitted at the same meeting that the coding department “presently does not have the
 9 bandwidth to support such an effort [to perform follow-up audits]” despite the need to do so. No

10 coders or auditors were assigned by PAMF or Sutter to perform follow-up audits.

11          62.     Later audits by Optum and UHG auditors focused on the heart attack risk-

12 adjusting diagnosis code at PAMF’s Camino location 28 out of 30 erroneous, invalid,

13 unsupported or otherwise false codes for dates of service in years 2013, 2014, and 2015 (a 93%

14 failure rate) and three out of four similarly false codes at its Mills-Peninsula location (a 75%

15 failure rate). Sutter and PAMF knew that they were required to delete these codes. While they

16 deleted the specific diagnosis codes identified by the Optum and UHG auditors, Sutter and

17 PAMF deliberately ignored the much larger coding problems identified by these high audit

18 failure rates and refused to expand auditing of diagnoses that mapped to heart attack specifically
19 and to any of the other risk-adjusting diagnosis codes more generally.

20                      RED FLAG - THE INEFFECTIVE COMPLIANCE AND

21                  TRAINING PROGRAMS FOR RISK-ADJUSTMENT CODING

22          63.     As highlighted by these audit results, Sutter and PAMF lacked any effective

23 compliance or training program related to diagnostic coding for its Medicare Part C program.

24 While there was a PAMF coding and compliance committee, as noted above its members

25 focused primarily on Sutter’s RAF Campaign and little on audits examining the validity of the

26 coding or other compliance efforts.

27          64.     For example, in March 2013, Crow informed Katie Borgstrom, PAMF’s Interim

28 Chief Operating Officer, that one of PAMF’s divisions, Mills-Peninsula, “has never been audited
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 1 and we have no idea what is going on there.” Crow also admitted that PAMF’s coding and

 2 training group “had no credibility” with physicians and summarized these ineffective coding and

 3 compliance efforts, stating: “Historically, the coding department has had no structure, no policies

 4 and really no accountability in terms of education provided and timely feedback” to the

 5 physicians in PAMF’s network. At that time, Crow discussed these problems with Richard

 6 Slavin, PAMF’s Chief Executive Officer, who agreed that PAMF must improve in these areas.

 7          65.    On May 6, 2013, Sutter hired the relator, Kathy Ormsby, as PAMF’s Risk-

 8 Adjustment Project Manager. She reported to Kris Crow and at times to Suzy Cliff. In this
 9 position, Ormsby served as “the primary liaison between [the] coding, revenue cycle, quality &

10 clinical departments with regards to the Medicare Advantage RAF/HCC coding initiative.”

11          66.    Ormsby had earned a coding certification from the American Academy of

12 Professional Coders. She also possessed substantial experience with HCC codes, risk-adjusting

13 diagnosis codes mapping to HCC codes, the ICD standards, and Medicare Part C compliance and

14 training through her previous, six-year employment at an MA Organization. There, her

15 responsibilities included training physicians in the MA Organization’s network on accurate

16 coding, supervising risk-adjustment auditors, and helping to ensure compliance with Medicare

17 rules and regulations relating to the MA Program.

18          67.    Within the first few days on the job, Ormsby became aware that PAMF lacked a

19 compliance or coding training program relating to Medicare Part C. As Ormsby explained in

20 notes written at a PAMF performance review several years later, on the first day “I was sent to a

21 cube with nothing in it but an empty desk,” “with absolutely no support, tools or guidance.” In

22 another performance review, Kris Crow, her supervisor, admitted that when Ormsby arrived no

23 coding compliance or training program existed at PAMF.

24          68.    Ormsby also realized that the same problems existed system-wide at Sutter. She

25 knew there were no Sutter coding compliance manuals or training guides for physicians on

26 diagnosis coding. Also, a discussion with Cheung (Sutter’s RAF Program Manager), within the

27 first month of Ormsby’s employment, confirmed the lack of any compliance program at Sutter

28 concerning risk-adjustment diagnosis coding or compliance. Indeed, Cheung admitted to
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 1 Ormsby that prior to joining Sutter she possessed no coding or compliance experience, and

 2 Ormsby knew from her work with Cheung that she primarily focused on the RAF Campaign

 3 rather than on Medicare Part C compliance.

 4          69.     Despite Ormsby’s efforts detailed below, the compliance and training problems at

 5 Sutter and PAMF did not improve. An August 2014 coding survey of dozens of physicians in

 6 PAMF’s network (reflecting physician discussions between March and August 2014 with the

 7 coding and auditing team Ormsby hired at PAMF) revealed no meaningful improvement in

 8 coding compliance or training. PAMF executives Larsen, Vahamaki, Cliff, and Crow all
 9 received the survey results showing widespread confusion among physicians (as well as the

10 compliance department) about the coding requirements. Not surprisingly, this survey also

11 showed these physicians’ patient medical records were replete with false diagnosis codes,

12 including codes mapping to HCC codes for different types of cancer, diabetes, renal failure,

13 emphysema, pulmonary disease, and vascular disease, among others. In fact, the little physician

14 education that PAMF physicians had received on diagnosis coding (prior to Ormsby’s efforts)

15 focused on increasing RAF scores. For example, in February 2014, Dr. Karen Suskiewicz told a

16 PAMF auditor who questioned the adequacy of the patient’s medical record documentation for a

17 diabetes diagnosis, “I was told [at] the coding meeting last year that we should ‘upcode’

18 whenever possible . . .” (quotation in original.)
19          70.     Over time, the attitude of Sutter and PAMF management towards coding

20 compliance became more dismissive, as management continued to ignore red flags as well as

21 warnings by Ormsby. Under the tenure of Christian Gabriel (Ormsby’s new supervisor) that

22 began in early February 2015, compliance became even less of a priority than it had been under

23 her former supervisor, Kris Crow. As described below, this did not happen by chance, but

24 represented a calculated effort by Sutter and PAMF to further the RAF Campaign and improve

25 their efforts at maximizing Medicare reimbursement.

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 1      RED FLAG - ORMSBY’S AUDIT RESULTS PROVIDED SUTTER AND PAMF

 2          WITH ACTUAL NOTICE ABOUT THOUSANDS OF FALSE CLAIMS

 3          71.     Concerned about the lack of coding compliance and training, Ormsby personally

 4 conducted, within a few weeks of her hiring, a random diagnosis coding audit of 42 physician-

 5 patient encounters at PAMF occurring in the first two quarters of 2013. In so doing, she

 6 followed the ICD-9 coding guidelines used by Medicare. This type of audit is called an

 7 “Encounter Audit.” It evaluates one physician-patient encounter in a given year and is useful to

 8 establish a baseline for coding accuracy. However, an Encounter Audit alone does not determine
 9 the extent of overpayments from CMS. A patient may have more than one encounter with the

10 physician annually or an encounter with a different physician or in a different setting later that

11 year that may establish the validity of a diagnosis.

12          72.     Ormsby completed this audit in early June 2013. She discovered an 85% coding

13 failure rate, with 53 of the 62 risk-adjusting diagnosis codes being false. All of these codes had

14 been submitted by PAMF for reimbursement, which raised a red flag of overpayments from

15 CMS.

16          73.     A month later, on July 8, 2013, one of the MA Organizations, UHG, sent

17 McGinnis, Sutter’s RAF Director, a letter “identif[ying] your practice as having submitted one or

18 more HCCs at significantly higher rates than your peers,” requesting supporting documentation,
19 and noting UHG’s engagement of a consulting firm to conduct a medical chart review. Cheung,

20 Sutter’s RAF Program Manager, received and forwarded the UHG letter to Ormsby, among

21 others, who responded to Sutter and PAMF executives that the letter “identifies [PAMF] as

22 having some red flags and I want us to be compliant.” Ormsby also began lobbying for auditing

23 support, stressing “[w]e really need to get on the ball with our potential HCC auditor[s].”

24          74.     In light of her audit results, Ormsby created a “Corrective Action Plan” in early

25 August 2013. Her plan called for hiring certified coders to perform audits and developing a

26 compliance and training program to improve coding accuracy. Ormsby also cited the 85%

27 diagnosis coding failure rate in her June 2013 audit, and identified the “root cause” as PAMF’s

28 ineffective compliance and training. The Corrective Action Plan explained that the audit
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 1 “confirmed that proper instruction for documentation requirements had not been communicated

 2 clearly to providers” and that PAMF “currently lacks a clearly defined procedure for auditing

 3 and provider feedback.”

 4          75.     The Corrective Action Plan called for two types of audits: “Encounter Audits”

 5 similar to Ormsby’s June 2013 audit, and “FOCUS Audits” examining the error rates of several

 6 key HCCs (cancer, stroke, and fractures) that Ormsby understood from her prior experience were

 7 often miscoded and resulted in lucrative CMS reimbursements. The FOCUS Audits examined

 8 diagnosis codes in PAMF patient medical records covering an entire calendar year and thus
 9 could be used in determining overpayments from CMS. Ormsby gave her supervisor, Crow, a

10 copy of the Corrective Action Plan. Soon thereafter, Ormsby received authorization to hire five

11 certified coders, but no substantive feedback about the Corrective Action Plan. PAMF

12 management above Crow approved the hiring of the five certified coders to work as auditors.

13 However, at the time, management viewed audits as a tool to increase diagnostic coding rather

14 than for compliance.

15          76.     While the Encounter and FOCUS audits proceeded at PAMF, Ormsby learned of

16 additional risk-adjusting diagnosis coding problems in PAMF’s MA beneficiary medical records.

17 In January 2014, one of the Physician Champions, Dr. Gupta, identified “thousands” of “old,

18 outdated and incorrect” diagnoses on the Problem Lists that place “[us] at risk of incorrectly
19 coding them in a given year.” In addition to Ormsby and her supervisor, Crow, other PAMF

20 executives learned of this problem, including Vahamaki and the four Physician Champions.

21          77.     In an April 3, 2014 proposal to Crow and Cliff seeking five more full-time coders

22 to augment her team, Ormsby identified 185 risk-adjusting diagnosis codes that had been

23 “incorrectly captured by providers and submitted for reimbursement” in just the first quarter of

24 2013 alone. Ormsby explained that with these additional coders “[d]ocumentation across all of

25 PAMF would be better supported to reach the requirements identified by CMS (Center for

26 Medicare and Medicaid Services) and show a marked increase in compliance” (parenthetical in

27 original.)

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 1          78.    Shortly after this proposal, Sutter and PAMF received the results of a chart review

 2 by a consultant, Peak Health Services, engaged by UHG and Health Net, another MA

 3 Organization, for dates of service in calendar years 2012 and 2013. The Peak chart review

 4 identified over 8,000 false diagnosis codes for MA Plan patients that Sutter and its affiliates

 5 needed to delete based on “overcod[ing]” and diagnoses “not supported in documentation.”

 6 Sutter and PAMF executives, as well as Ormsby, learned of these results. Despite this additional

 7 red flag, Sutter and PAMF executives did not direct Ormsby or any other auditor to take

 8 remedial action to identify other false diagnosis codes.
 9          79.    On June 3, 2014, Ormsby informed management that preliminary results of the

10 2013 Encounter Audits were showing high failure rates. The Encounter Audits found 1,082 false

11 risk-adjusting diagnosis codes out of a total of 2,226 patient encounters audited, a nearly 50%

12 failure rate (48.9%).

13          80.    A few weeks later, on June 27, 2014, Ormsby informed Crow that the Physician

14 Champions were erroneously educating PAMF physicians about the diagnosis coding

15 requirements for morbid obesity and aortic atherosclerosis. Based on her dealings with them,

16 Ormsby explained to Crow that “[i]t is apparent that the champions have been training our

17 providers on aortic arthrosclerosis and morbid obesity incorrectly” and suggested an audit to

18 uncover the extent of the problem. PAMF did not authorize any audit in response to this request.
19          81.    Approximately one month later, in late July 2014, Ormsby raised another red flag,

20 identifying false diagnosis codes with PAMF management relating to a single MA Plan patient

21 identified herein as Patient A dating back to a patient encounter in 2010. An MA Organization

22 (UHG) had requested the medical records for Patient A supporting the submission of a risk-

23 adjusting diagnosis code (prostate cancer) during dates of service in 2010. In response, Ormsby

24 pulled Patient A’s medical records and found nothing in the record to support the prostate cancer

25 code for that year. She provided Patient A’s medical records to UHG as requested and brought

26 this problem to the attention of her supervisor, Crow, as well as to Cheung at Sutter. In response,

27 Cheung reprimanded Ormsby for turning over Patient A’s medical records to UHG and ordered

28 her never to do that again, but instead to send any patient medical records to Cheung.
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 1          82.     Concerned about potential liability, Crow asked Ormsby to calculate the potential

 2 reimbursements to CMS from the false coding related to Patient A in light of UHG’s

 3 understanding of CMS’s position that “if one HCC failed in audit, [CMS] could assume that for

 4 every patient in the plan that submitted the same HCC, [CMS] can ask for the payment back.”

 5 Given the false coding of prostate cancer for Patient A, Ormsby identified a total of 484 codes

 6 for prostate cancer submitted for payment in 2010 and estimated the potential reimbursement at

 7 $1.936 million, which she stated “is probably low.”

 8          83.     Also, in July 2014, Ormsby performed another Encounter Audit similar to the one

 9 she had conducted in June 2013. This time she reviewed 20 physician-patient encounters

10 covering the one-month period of March 2013. Ormsby found a 90% failure rate, with false risk-

11 adjusting diagnosis codes in 18 of the 20 encounters.

12          84.     In December 2014, Ormsby and her audit team memorialized the final tally of the

13 2013 FOCUS Audit of risk-adjusting diagnosis codes for cancer, stroke, and fracture. For cancer

14 (HCC 10, categorizing breast, prostate, colorectal and other cancers and tumors), 164 of the 182

15 patient records audited for the 2013 calendar year were erroneous, invalid, unsupported or

16 otherwise false for HCC 10. Ormsby calculated the “HCC 10 Accuracy” rate at 9.88% for this

17 cancer code. For stroke (HCC 99/100, including cerebral hemorrhage and ischemic or

18 unspecified stroke), 162 of the 169 patient records audited for the 2013 calendar year were
19 similarly false for HCC 99/100. Ormsby calculated the “HCC 99/100 Accuracy” rate at 4.1% for

20 these stroke codes. For fracture (HCC 169/170, including vertebral fractures without spinal cord

21 injury and hip fracture/dislocation), 57 of the 86 patient records audited for the 2013 calendar

22 year were also false for HCC 169/170. Ormsby calculated the “HCC 169/170 Accuracy” rate at

23 33.7% for these fracture codes.

24          85.     As noted in ¶ 75 supra, FOCUS Audits are especially important for compliance

25 purposes because they identify false risk-adjusting diagnosis codes that result in inflated

26 Medicare reimbursements and, upon identification, trigger the duty to delete these codes to

27 ensure the appropriate reimbursement. On December 16, 2014, Ormsby met with Marcella

28 Alaniz, a PAMF Compliance Analyst, to discuss these poor results. Ormsby also discussed the
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 1 2013 FOCUS Audit results with Jessica Driver-Zuniga, Sutter’s lead RAF/HCC coder, including

 2 the continuing problem of false diagnosis codes still being submitted to MA Organizations and

 3 subsequently to the CMS reimbursement system.

 4          86.     Three days later, on December 19, 2014, Ormsby widely distributed the 2013

 5 FOCUS Audit results to PAMF senior management, flagging the high failure rates (cancer 90%,

 6 stroke 96%, and fracture 64%). Ormsby identified the audit as a high-priority compliance issue

 7 encompassing over 7,500 encounters in one year of service. That same day Ormsby notified

 8 PAMF senior management that there were additional false risk-adjusting diagnosis codes that
 9 had been submitted to CMS and that required reimbursements of the overpayments from CMS.

10 She wrote, “We have identified 94 encounters that have been submitted to CMS without

11 supporting documentation for HCC conditions billed” from PAMF physicians. Ormsby also

12 wrote that she “expect[ed] this number to increase daily until a resolution can be implemented.”

13          87.     These audit results further showed that over 3,500 patient encounters from 2013

14 dates of service remained un-reviewed. In fact, Ormsby’s auditing team had the capacity to

15 review only a small percentage of the cancer, stroke and fracture encounters for 2013 dates of

16 service at PAMF, which itself was only a small portion of the encounters that should have been

17 reviewed. No other dates of service had been reviewed, and Ormsby raised that concern to her

18 immediate supervisor, Suzy Cliff, in writing, on January 21, 2015.
19          88.     The false coding problems highlighted by the 2013 FOCUS and Encounter Audits

20 came as no surprise to PAMF management. Indeed, throughout 2014, Ormsby distributed the

21 monthly RAF Dashboard results to management, including to Larsen and Cliff of PAMF. These

22 results detailed hundreds of erroneous, invalid, unsupported or otherwise false diagnosis codes

23 compiled as the Encounter and FOCUS Audits progressed.

24          89.     In early January 2015, Ormsby raised a new problem concerning “misleading

25 labels” for stroke in Sutter’s electronic medical record system to management at Sutter and

26 PAMF, including Cheung at Sutter and Cliff at PAMF. Ormsby attached a screen shot showing

27 these misleading labels, which stated that various types of stroke, as long as they took place

28 within eight weeks of the visit, were considered acute and carried an “HCC” label. Ormsby
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 1 explained that this diagnosis code should not be captured after a patient is discharged from the

 2 hospital in an in-patient setting (much less within eight weeks), but “[t]he labels are causing

 3 providers to capture the incorrect ICD-9 codes and we are being reimbursed inappropriately.” In

 4 response to Ormsby’s request to remove the words “8 weeks” from the label, Cheung resisted,

 5 noting that “[t]he Compliance Reimbursement Team hasn’t yet weighed in.” Cheung also

 6 admitted that these misleading electronic medical record labels were a system-wide problem at

 7 all of Sutter’s affiliates, not just PAMF, and cautioned that a change in labelling “won’t be made

 8 for just one organization.”
 9          90.     Finally, in March 2015, Ormsby updated her FOCUS and Encounter Audit results

10 at the request of her new supervisor, Christian Gabriel, who started working in that position at

11 PAMF on or about February 1, 2015. The updated 2013 FOCUS Audit results showed Ormsby

12 and her auditing team’s deletion of 1001 false diagnosis codes that had been submitted for

13 reimbursement. These deletions resulted in downward adjustments of the CMS reimbursements

14 that had been inflated by these false codes. Also, the 2013 and 2014 Encounter Audit results

15 showed the deletion in the electronic medical record system of 777 false diagnosis codes in 2013

16 and 517 false diagnosis codes in 2014. Upon reviewing this data, Gabriel asked Ormsby to

17 calculate an overpayment amount for these false codes. She estimated it at approximately $4.2

18 million and explained to him that this likely represented just the tip of the iceberg. For example,
19 3,844 encounters remained unaudited in date of service year 2013 alone and thousands of later

20 encounters also were never audited. Based on the aggressiveness of the RAF Campaign, the

21 substantial encounter coding error rates identified by Ormsby and the auditing team, and, as

22 detailed further below, management’s refusal, starting in early 2015, to use audits as a tool to

23 identify erroneous coding, Sutter and PAMF knowingly submitted and caused the submission to

24 Medicare of thousands of false risk-adjusted diagnosis codes (i.e. false claims) for date of service

25 years 2014, 2015, and 2016 and did not delete those false codes or refund overpayments to CMS.

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 1        SUTTER AND PAMF KNOWINGLY IGNORED RED FLAGS AND ACTUAL

 2   NOTICE OF FALSE CLAIMS AND THWARTED EFFORTS TO IMPROVE CODING

 3          91.     As detailed above, Sutter and PAMF management knew about the ineffective

 4 compliance and training that would inevitably result in substantial false coding. They also knew

 5 about the internal and external audits highlighting years of substantial false coding at PAMF.

 6 Instead of addressing these problems, Sutter and PAMF management continued to engage in the

 7 RAF Campaign and encouraged aggressive diagnosis coding, resulting in the submission of false

 8 codes and inflated Medicare reimbursements.
 9          92.     Before Ormsby’s arrival at PAMF in May 2013, Sutter and PAMF management

10 recklessly disregarded and were deliberately indifferent to problems of false diagnosis coding,

11 with few attempts made to audit or otherwise identify such problems even in the face of the high

12 failure results of audits and chart reviews by UHG, Peak and Optum. Indeed, the RAF

13 Campaign itself, with the goal of increasing lucrative diagnosis coding, highlighted Sutter and

14 PAMF’s focus on Part C profits over compliance.

15          93.     One illustration of this corporate attitude came in early February 2012. Greta

16 Fees, the Sutter Director of Coding, Documentation and Data Quality, expressed concern about

17 “the added descriptive of chronic to the diagnosis code descriptions,” for among others,

18 leukemia, bronchitis, and asthma. Labelling these diagnoses as chronic instead of acute would
19 permit the addition of risk-adjusting diagnosis codes from patient encounters and, thus, increase

20 reimbursements from CMS. However, Fees believed that these diagnoses clinically related to

21 “acute” rather than chronic conditions and explained that research she had undertaken did “not

22 support adding the descriptive term of chronic . . . as that would change the definition, intent and

23 possibly use of the code.” She relayed these concerns to Dr. Lane of PAMF and Dr. Meg

24 Durbin, a PAMF Regional Medical Director, Managed Care, both of whom wanted to add the

25 “chronic” label to these diagnoses. In response to Fees’ concern, Lane and Durbin pushed back

26 in support of the “chronic” designation, tried to pressure Fees into accepting their analysis, and

27 then claimed they were “approaching a consensus” with Fees despite her continued disagreement

28 with them.
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 1          94.       Another illustration of this attitude came in September 2012, when Dr. Brown of

 2 PAMF designed the “coding party” to improve MA patients’ risk scores. See supra at ¶ 47. In

 3 so doing, Brown characterized emphasizing patient care to the physicians as a strategy to

 4 increase coding “as opposed to simply hammering on them to code better.”

 5          95.       Similarly, in response to UHG’s October 2012 audit of 30 patient charts that

 6 identified a 90% error rate for one code, the “PAMF Coding and Compliance Committee”

 7 focused on the loss of revenue from the audit and rejected any expansion of audits due to a lack

 8 of resources in PAMF’s coding department. See ¶¶ 59-61 supra.
 9          96.       In addition to these internal discussions prioritizing the RAF Campaign above

10 coding compliance and training, Sutter and PAMF received a steady stream of complaints from

11 physicians in PAMF’s network highlighting their concerns about the push for aggressive risk-

12 adjusting diagnosis coding. Among the examples:

13                •   Dr. Joann Falkenburg expressed discomfort several times to Physician

14                    Champions Dr. Amy Lin and Dr. Vahamaki about the RAF Campaign’s

15                    encouragement of upcoding, including: (i) “I got two new HCC [daily] alerts

16                    today and have concerns about both of them”; (ii) “they [coders] suggested [a

17                    patient] get diagnosed with COPD [asthma] based on a diagnosis in UC a year

18                    and a half ago . . . I don’t feel it is legitimate to code this”; (iii) “with my patient

19                    on hospice, there is something that seems unseemly about pursuing a new

20                    diagnosis of PVD [pulmonary vascular disease] when she has weeks to live”; (iv)

21                    “it makes me feel a little fraudulent to be considering it”; and (v) “I try to be

22                    pretty legitimate about how I diagnose, document and chart and want to avoid

23                    any possibility that it looks like I am working someone up just for the financial

24                    upside.”

25                •   Dr. Douglas Tucker complained to Vahamaki and others in PAMF’s management

26                    about a coder changing a patient diagnosis, stressing that: (i) “changing a

27                    diagnosis from acute bronchitis to pneumonia is not a simple or unimportant

28                    change”; and (ii) “it is so obviously unethical.”
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 1                •   Dr. Heather Linebarger complained to Vahamaki, among others, about the

 2                    Medicare Wellness Exams: “I have serious questions about the new policy of

 3                    booking in Medicare Advantage patients to review all HCC codes . . . This

 4                    represents a waste of time for the patient and a loss of appointment and

 5                    worsening of access for me.”

 6                •    Dr. Thomas Deetz told a PAMF auditor, Lydia McGriff, “pre-populating

 7                    diagnoses into his visit encounter is possibly fraud . . . Does CMS know about

 8                    what you all are doing?” McGriff then relayed Deetz’s concerns to Gabriel.

 9                •    Dr. Lisa Gervin told a PAMF auditor, Lawrence Poms, she did not know how to

10                    delete an incorrect HCC code entered by a coder after her patient visit, and Poms

11                    then told Gabriel about this incident.

12                •   “[M]ultiple doctors” complained to one of the Physician Champions, Dr. Graham

13                    Dresden, about the “harshness of the messages” on the daily alerts: “they were

14                    offended by the messages and . . . felt like the message was either confusing,

15                    fraudulent, excessive, etc.” Dresden relayed this complaint to PAMF

16                    management.

17          97.       In addition to the frequent complaints from physicians, after Ormsby’s arrival

18 Sutter and PAMF management received actual notice from Ormsby and her audit team about
19 rampant false diagnosis coding and ineffective compliance and training. Initially, Sutter and

20 PAMF management ignored her and continued the RAF Campaign unabated. However, as

21 Ormsby and her auditing team deleted false diagnosis codes that mapped to HCCs and negatively

22 impacted the reimbursement from CMS, Sutter and PAMF management took steps to impede her

23 efforts and stop her ability to delete false codes.

24          98.       As noted above, by August 2013 Ormsby had collected Encounter Audit data

25 showing significant error rates (53 of 62 false diagnostic codes from the 42 physician-patient

26 encounters) and developed the first Corrective Action Plan. Yet, other than hiring additional

27 auditors, which at the time management expected would be employed to help increase RAF

28 scores and revenue, Ormsby’s other compliance and training recommendations were ignored.
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 1          99.     Despite discussions with management about physician complaints regarding the

 2 RAF Campaign, no changes took place. Rather, Sutter and PAMF management continued to

 3 pressure the physicians to increase risk-adjusting diagnosis coding.

 4          100.    On January 8, 2014, one of the Regional Physician Champions, Dr. Schaefer,

 5 stated her misgivings to Dr. Sean Gaskie concerning the RAF Campaign’s “[M]edicare

 6 compliance” after reviewing a graph showing substantial increases in the “Quarterly Capture

 7 Rate” of HCC coding in 2013 compared with 2012. Schaefer understood and told Gaskie that

 8 “[M]edicare frowns on practices that just increase revenue.” In response, Gaskie tried to redirect
 9 her focus to quality patient care, while admitting that “we’re used to thinking of RAF as just

10 ‘100M left on the table.’”

11          101.    Later that month, another Regional Physician Champion, Dr. Gupta, identified to

12 PAMF management “old, outdated, and incorrect” Problem Lists sent to the physicians via the

13 electronic medical record system. Gupta warned that “the Problem Lists are not fully compliant”

14 and if errors “remain on the list, then we are at risk of incorrectly coding them.” See, e.g., ¶¶ 51-

15 52, 76 supra for additional detail.

16          102.    As Ormsby and her auditing team continued to identify and delete false risk-

17 adjusting diagnosis codes that impacted Medicare reimbursements throughout 2013 and the first

18 two quarters of 2014, Sutter and PAMF management began to impede her efforts at ensuring that
19 Sutter and PAMF receive only the appropriate reimbursement for MA Plan patients.

20 Notwithstanding Ormsby’s multiple requests for additional auditors beginning in early April

21 2014 and several audits identifying substantial false diagnosis coding, Sutter and PAMF

22 prevented her from hiring the additional auditors she needed for Medicare Part C compliance and

23 auditing.

24          103.     On September 29, 2014, Ormsby attended a PAMF executive meeting with

25 Larsen, Cliff, Vahamaki, and many others. At the meeting, Ormsby delivered a PowerPoint

26 presentation summarizing the results, to date, of the Encounter and FOCUS Audits. The results

27 continued to demonstrate significant concerns, with 6,082 false risk-adjusting diagnosis codes

28 identified out of 12,220 physician-patient encounters reviewed. Ormsby also made compliance
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 1 and training recommendations at the meeting, including “Diagnosis Champions” to work

 2 alongside the Physician Champions and to train the physicians in PAMF’s network about proper

 3 coding and other compliance issues.

 4         104.   A few days after the meeting, Larsen responded. Rather than lauding Ormsby’s

 5 compliance efforts or recommending the implementation of any of her compliance and training

 6 ideas, he complained to Dr. Vahamaki, Cliff, and Dr. Michael Conroy, PAMF’s Chief Medical

 7 Officer, about his unhappiness with the pace of the RAF Campaign in increasing reimbursements

 8 from CMS. The first paragraph of Larsen’s email, dated October 1, 2014, highlights the focus of
 9 PAMF’s Chief Financial Officer on profits over compliance:

10                We are now over a year into the HCC improvement effort [i.e., the

11                formal RAF Campaign] and I see that we are making some limited

12                progress but are behind where we could be and will likely not

13                achieve more than a modest improvement if we continue as is.

14                Given our existing efforts and the general mindset of the physicians

15                I predict we will achieve at most a 10% improvement. As discussed

16                in the original plan, critical to the success of a successful program is

17                the shift in PCP [primary care provider] perspective to catch the

18                vision of thinking about actively managing and thinking of patients

19                in terms of their chronic conditions. In general, I am concerned that

20                we do not have this shift in thinking which is critical to building a

21                foundation for longer term and more significant improvement. We

22                are still thinking of this as a coder supported initiative versus

23                physician owned.      I think we may need to ask the Board to

24                reconsider implementing a physician compensation incentive along

25                with a refocus on the other key parts of the plan to effectively change

26                the PCP culture necessary for HCC success.

27         105.   That day, Vahamaki forwarded Larsen’s email to Cheung and McGinnis of Sutter

28 and they discussed Larsen’s focus on the RAF Campaign and Ormsby’s compliance efforts. In
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 1 particular, Vahamaki agreed with Larsen’s “strategic” focus on profits and identified one barrier

 2 as the coding department’s (i.e., Ormsby’s) focus on compliance. Cheung agreed that Larsen

 3 “sees the significance of the physician champions” to the RAF Campaign’s success. Also

 4 criticizing Ormsby, Vahamaki expressed “shock[]” that Ormsby had presented the PowerPoint

 5 without informing him ahead of time, claimed she had “hijacked the meeting for the first 25

 6 minutes in order to give this presentation,” and complained about her “most definitely pushing

 7 her own agenda.” He also indicated that the Physician Champions “universally questioned and

 8 disliked” Ormsby’s idea of Diagnosis Champions and did not recommend presenting this
 9 proposal at upcoming management meetings, “as it clearly does not represent PAFMG/PAMF at

10 this time.” A few minutes later, Cheung agreed, “considering this a closed issue,” and

11 effectively ending any possibility of Sutter or PAMF implementing Ormsby’s recommendations.

12          106.   Following the plain directives from Larsen, Vahamaki and Cheung, Sutter and

13 PAMF management took additional steps to limit Ormsby’s attempts to ensure that the RAF

14 Campaign complied with the law. One such step was to prevent PAMF coders from deleting

15 false diagnosis codes requiring reimbursement and instead forcing the busy network physicians

16 to do so. On October 15, 2014, Cliff told Ormsby, in an email entitled “HCC Coding

17 Corrections,” “[p]er our conversation this morning, please remind your team to stop performing

18 any charge corrections on accounts until we can map out the downstream [e]ffects.”
19          107.   In a related step to stop the deletion of false but lucrative diagnosis codes, on

20 November 12, 2014, Dr. Criss Morikawa, a PAMF executive, distributed to PAMF management

21 and Ormsby’s auditing team an email describing PAMF’s new policy prohibiting “submitting

22 charge corrections to payors (esp. Medicare) more than 30 days after date of service”

23 (parenthetical in original.) In response, Dr. Edward Yu, PAMF’s Medical Director, inquired,

24 “What happens if the incorrect diagnosis code puts us at risk of [M]edicare fines for inaccurate

25 coding?” Morikawa replied that due to the “close to a million charge transactions” that PAMF

26 submits every month “it is not scalable to hold and review every encounter-even on say all

27 [M]edicare.”

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 1          108.    Thereafter, on November 26, 2014, Ormsby attended a meeting with Marcella

 2 Alaniz and Jessica Lin (both PAMF Compliance Analysts), among others. Alaniz complained

 3 that Ormsby lacked any authority to delete false diagnosis codes from patient encounters in the

 4 electronic medical record and instructed her to stop doing so immediately. Instead, only the

 5 physicians could make these deletions, while Ormsby and her auditors could make changes just

 6 to the billing records. In response, Ormsby explained that the monthly “sweeps” of diagnosis

 7 codes for reimbursement purposes related to the encounter side of the electronic medical record,

 8 not the billing side of the electronic medical record (which was intended to serve as a billing
 9 mechanism and record for patients who were enrolled in “traditional” fee-for-service Medicare).

10 She also explained that, as a result, deleting false risk-adjusting diagnosis codes from the billing

11 side and not the encounter side of the electronic medical record would do nothing to prevent

12 false codes from being submitted for reimbursement to MA Organizations, and in turn to

13 Medicare.

14          109.    A few days later, Ormsby tried to reverse management’s directive to stop her

15 auditing team from deleting false diagnosis codes. On December 1, 2014, Ormsby warned

16 PAMF management, including Alaniz, Cliff, Morikawa, and Debbie Troklus (PAMF’s

17 Compliance Director), that “I don’t think this recommendation is a compliant solution.” The

18 next day, December 2, 2014, Ormsby warned PAMF management about the importance to
19 Medicare of proper diagnosis coding and Medicare’s upcoming focus on coding compliance.

20          110.    On December 10, 2014, Ormsby became even more explicit about Sutter and

21 PAMF’s widespread false coding and the prospect of being caught by Medicare. She stated, “I

22 am very concerned about the large number of non-compliant chronic HCC conditions that have

23 been submitted to the health plans for reimbursement,” and once again highlighted the 2015

24 “OIG Work Plan[s]” emphasis on MA audits of diagnostic coding. Ormsby also explained that,

25 based on her experience, most physicians will not delete unsupported codes due to time pressure

26 and inattention, and some cannot do so because they are no longer affiliated with PAMF. She

27 sent the email to Conroy (PAMF’s Chief Medical Officer), Vahamaki and Cliff. Cliff

28 subsequently chastised Ormsby for escalating the issue to Conroy.
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 1          111.   Despite Ormsby’s efforts, Sutter and PAMF continued the RAF Campaign

 2 without implementing any of her recommendations. Quite the contrary, that same month

 3 (December 2014), Dr. Schaefer, the Regional Physician Champion of Diagnostic Coding for

 4 Sutter, increased the coding pressure on physicians because “as we approach end of year [we] are

 5 trying to maximize capture of HCC’s.”

 6          112.   Ormsby’s concerns about the new policy prohibiting the deletion of false

 7 diagnosis codes on the patient encounter side of the electronic medical record system was widely

 8 known throughout PAMF and by certain Sutter managers, leading to her at times being
 9 purposefully bypassed on internal discussions about coding problems. As Dr. Schaefer put it in a

10 widely distributed December 2014 email discussing a coding issue, “I am not sending this to

11 Kathy as we know what happens.”

12          113.   In addition, Ormsby distributed the results of her FOCUS Audit in mid-December

13 2014 and continued raising issues about PAMF’s false coding. She also raised these issues at a

14 January 21, 2015 meeting with Cliff and sent a follow-up email the next day to PAMF

15 management, including Vahamaki, Cliff, Troklus, Alaniz and Morikawa. In the email, she

16 “reiterated [her] concerns regarding” five key HCC coding compliance problems, as follows:

17                 1.     Accuracy rates of cancer, fracture and stroke (2013 dates of service and

18                        beyond);

19                 2.     Concerns regarding the payments received without supporting

20                        documentation (60 day window);

21                 3.     Encounters by providers who are no longer at PAMF and have

22                        unsupported HCC submissions;

23                 4.     Providers who are not responding to staff messages regarding specificity

24                        and clarification for HCC’s submitted to CMS;

25                 5.     Discontinued use of the auditing billing notes/corrections to rectify

26 unsupported ICD-9” (parenthetical in original.)

27          114.   Additionally, Ormsby notified management that the monthly electronic medical

28 record “sweeps” of risk-adjusting diagnosis codes from the patient encounter records would lead
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 1 to the submission of many false codes to the MA Organizations and then to CMS. Highlighting

 2 this particular problem, a February 24, 2015 memo from Driver-Zuniga (Sutter’s lead RAF/HCC

 3 coder) admitted that unsupported diagnosis codes that were known by PAMF and Sutter to be

 4 invalid were being “swept” into the reimbursement system.

 5          115.   PAMF elevated Ormsby’s concerns to Sutter. Nevertheless, Sutter and PAMF’s

 6 focus on profits over compliance did not change. Ormsby and her auditing team continued to be

 7 barred from deleting false diagnosis codes, and management continued to review “the financial

 8 impact of revising PAMF’s RAF scores.”
 9          116.   As a result, Ormsby’s audit team did not conduct any additional Encounter,

10 FOCUS or other compliance audits through at least May 2015 (after Ormsby left Sutter). When

11 Ormsby’s former team re-started doing audits, management directed that they focus on audits

12 that would increase HCC coding and raise RAF scores, as explained below.

13          117.   Despite the red flags raised by the FOCUS Audits and to ensure the continued

14 aggressive approach to diagnosis coding, as noted above in early February 2015 Sutter and

15 PAMF hired Gabriel to supervise Ormsby. See supra ¶¶ 70, 90. Initially, Ormsby tried to

16 impress upon Gabriel the importance of coding compliance issues. She presented him with a

17 recent CMS presentation highlighting, among other things, the importance of appropriate HCC

18 coding and documentation, as well as identifying the Medicare rules related thereto. Ormsby
19 also gave Gabriel a self-assessment relating to PAMF’s MA Plan program describing the need

20 for more auditors and compliance.

21          118.   Nevertheless, the RAF Campaign continued to be Gabriel’s priority over

22 compliance. When Ormsby attempted to raise compliance issues, Gabriel directed her to discuss

23 any “differences in private” with him alone rather than via emails that included the auditing

24 team. Then, on March 9, 2015, Gabriel issued a “verbal warning” to Ormsby based on

25 misgivings about the RAF Campaign that she had expressed at a meeting with Gabriel and her

26 auditing team. He also made clear that at this time the audit “team, structure and process is my

27 #1 focus” “[g]iven the lack of progress in improving our RAF/HCC scores.”

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 1          119.    Similarly, at a “Strategy Meeting” in mid-March 2015, Gabriel stressed the new

 2 focus of Ormsby’s auditing toward “rais[ing] the RAF score.” A few days later, on March 18,

 3 2015, Gabriel detailed this new focus to the auditing team at a three-hour meeting that Ormsby

 4 could not attend. In a follow-up email to the auditing team, Gabriel admitted that he had

 5 “dropped a ‘bomb’ on you in terms of a new initiative . . .” (quotation in original.) Relaying the

 6 contents of this meeting to Ormsby, Ellie Kamkar, Manager of Coding, Training and Auditing at

 7 PAMF, reported that Gabriel had directed the auditing team “to take off the compliance hat and

 8 put on the revenue hat” based on directives from senior management. Kamkar also believed that
 9 Gabriel “was asking her to teach physicians how to up code.”

10          120.    A week later, at a meeting on March 25, 2015, Gabriel expressly told Ormsby that

11 “[w]e need to audit to raise [RAF] score[s].” He also directed her and the auditing team to

12 conduct more data-mining audits that would “support leadership’s directives for this year”

13 regarding the RAF Campaign. These types of data-mining audits focused on alerting physicians

14 about risk-adjusting diagnosis codes that remained on the Problem Lists and potentially could be

15 added to patient records. Increasing Medicare reimbursement was the goal of these audits, as

16 Gabriel explained, in a March 26, 2015 email to PAMF management and Ormsby’s auditing

17 team. He identified “our overall goals,” as:

18              •   Identification of new HCC’s

19              •   Decreasing the # of patients without HCC’s

20              •   Maintain/improve HCC capture rate for 2015

21              •   Improve RAF/HCC scores through several techniques

22                     o Data-mining for HCC pockets of opportunities

23                     o Focus on providers that have a large volume of HCC eligible patients and

24                         target for review”

25 (bullet points in original.) As plans developed, the data-mining audits initially “targeted audits

26 for DM [diabetes] with manifestations, Thrombocytopenia, PVD [pulmonary vascular disease],

27 CKD [chronic kidney disease], MDD [major depressive disorder], and Pathological Fractures.”

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 1 These are all lucrative risk-adjusting diagnosis codes providing increased reimbursement from

 2 CMS.

 3          121.   Thereafter, Gabriel instituted new and even more aggressive policies to increase

 4 RAF scores. He required that coders pre-populate patient’s medical records before any

 5 physician-patient encounter with risk-adjusting diagnosis codes that the coders suspected (but

 6 did not know) might be applicable to the patient. These codes would be swept into the electronic

 7 medical record and submitted for reimbursement unless the physician affirmatively deleted the

 8 codes from the encounter side of the electronic medical record. Moreover, Sutter and PAMF’s
 9 policies precluded coders from deleting any false codes swept into the electronic medical record.

10 Rather, coders were permitted to delete diagnosis codes only from the “billing” side, which

11 Sutter and PAMF management knew did not prevent the submission of these false codes to MA

12 Organizations, and in turn, to CMS during the “sweeps.” By prohibiting coders from deleting

13 false risk-adjusting diagnosis codes and using them to add codes not reported or verified by

14 physicians in the electronic medical record, Sutter and PAMF knowingly pursued policies

15 designed to yield inflated reimbursements through the over-reporting of diagnosis codes.

16          122.   Sutter and PAMF management knew of and directed Gabriel’s focus on

17 increasing MA Plan reimbursement and on hampering Ormsby’s compliance efforts. For

18 example, at a March 27, 2015 strategy meeting with Cheung of Sutter and Arvin Magusara, a
19 Sutter Senior Analyst, along with Gabriel and Ormsby, Cheung explained that increasing MA

20 Plan patient risk scores “had been a concern for several years” among the RAF Steering

21 Committee, which included Burnich, Cheung, and McGinnis of Sutter and Vahamaki of PAMF.

22 At the same meeting, Cheung admitted that false coding problems remained and that “CMS is

23 still receiving HCC’s that we know are not correct.” Nevertheless, no follow-up discussions

24 took place at the meeting and no efforts were undertaken to correct this problem.

25          123.   Another example came just a few days later, at a March 31, 2015 “Champions

26 Meeting” that included Drs. Vahamaki, Dresden, Gupta, and Amy Lin, as well as Gabriel and

27 Ormsby. The meeting notes indicate that Gabriel explained that each PAMF division had

28 previously met the prior week and discussed “[h]ow both the physician and the auditor could
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 1 work together to identify areas to increase the RAF scores for each division.” Later during the

 2 meeting, Ormsby told management, “I want to go on the record saying that I do not agree with

 3 any auditor reviewing/auditing in search of reimbursement. I don’t believe that this is a

 4 compliant practice.” Ormsby also complained about management stopping the Encounter and

 5 FOCUS Audits used for compliance. In response, Gabriel “interrupted,” and made clear that

 6 “we are not doing any encounter audits this year,” stating that PAMF’s Compliance Department,

 7 not coding, would focus on compliance. At the same time, Gabriel admitted that PAMF was not

 8 willing to devote resources to focus on coding accuracy and compliance, acknowledging
 9 “[u]nfortunately our compliance department does not have the bandwidth to investigate

10 compliance concerns” related to coding.

11          124.    Not until the second quarter of 2016—over a year later—did Sutter resume using

12 internal auditing to find and delete erroneous, invalid, unsupported or otherwise false diagnosis

13 codes. At that time, the Office of Patient Experience initiated an audit attempting to establish an

14 accuracy baseline (i.e., error rate) in 2015 patient encounters resulting in diagnoses of stroke and

15 heart attack, similar to Ormsby’s process when she was first hired in 2014. A sample of MA

16 beneficiaries was randomly selected from each Sutter affiliate, including PAMF, for encounters

17 by primary care physicians and specialists. After reviewing the medical records for 38

18 beneficiaries, the accuracy rate at PAMF for diagnosis codes that mapped to the HCC for heart
19 attack was only 39.29%. Diagnosis codes that mapped to stroke were worse, with an accuracy

20 rate of only 22.22%. The accuracy rate of PAMF, when combined with Mills Peninsula Division

21 of PAMF and the Mills Peninsula Medical Group (a provider affiliated with PAMF), fell to

22 10.87% for diagnosis codes that mapped to the HCC for stroke. The error rates were similarly

23 high system-wide at Sutter, despite a stated goal of a 95% accuracy rate. For example, a review

24 of 206 MA beneficiaries system-wide at Sutter showed a 53.7% accuracy rate for risk-adjusting

25 diagnoses mapping to heart attack and a 22.8% accuracy rate for risk-adjusting diagnoses

26 mapping to stroke.

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 1          ACCURATE DIAGNOSIS CODING’S CRITICAL IMPORTANCE TO CMS

 2          125.    Sutter and PAMF knew that CMS depends on accurate risk-adjusting diagnosis

 3 coding to ensure appropriate reimbursement to MA Organizations and thus, payment to

 4 providers, for the healthcare services furnished under the MA Plans. See supra ¶¶ 38-40.

 5 Indeed, in determining the health status of each MA Plan patient, CMS’s HCC model relies

 6 exclusively on risk-adjusting diagnoses that are added into a patient’s medical records by

 7 physicians during (or coders after) face-to-face encounters between physician and patient. Thus,

 8 accurate diagnosis coding goes to the very essence of Medicare’s bargain with and payment to
 9 MA Organizations.

10          126.    Given the importance of accurate information, CMS requires certifications signed

11 by MA Organization executives regarding the truth and accuracy of coding and other patient

12 information submitted to CMS. These signed certifications are a condition of payment by CMS.

13 See 42 C.F.R. § 422.504(l)(3) (requiring related entities, contractors and subcontractors of MA

14 Organizations to certify the accuracy, completeness and truthfulness of payment data they

15 generate). In turn, the MA Organizations require in their contractual delegation agreements with

16 providers, like Sutter and PAMF, similar certifications signed by provider executives.

17          127.    Additionally, CMS audits MA Organizations, and the MA Organizations in turn

18 audit providers, concerning the accuracy of their coding because of its importance to MA Plan
19 reimbursement. In the event that erroneous risk-adjusting diagnoses codes are “swept” into the

20 reimbursement system, CMS requires the return of any overpayments. See Medicare Managed

21 Care Manual, Chapter 7, § 40 (June 2013); Swoben, 848 F.3d at 1176–77 & n.8 (9th Cir.

22 2016). So do Sutter and PAMF’s policies. See supra ¶ 42.

23          128.    PAMF executives, including Dr. Vahamaki, and all of the Physician Champions,

24 also knew that “failing a Medicare audit . . . could trigger a large scale audit” and the need to

25 “protect . . . the organization” against such a result that could lead to the reimbursement of

26 millions of dollars in overpayments. Highlighting the magnitude of these potential

27 reimbursements, Ormsby provided her supervisor, Crow, with an estimate of $1.936 million in

28 potential reimbursements to CMS if a UHG audit identified the erroneous coding of prostate
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 1 cancer for Patient A in 2010. See ¶ 82, supra. Similarly, in December 2014, Ormsby informed

 2 Conroy, Cliff and Vahamaki that she was “very concerned” about the “large number” of false

 3 diagnosis codes submitted to CMS for reimbursement that potentially could be discovered in

 4 HHS-OIG MA audits. See supra ¶¶ 109-110.

 5          129.    More broadly given the need to protect the public fisc, it is black letter law that

 6 “[persons] must turn square corners when they deal with the Government.” See Rock Island,

 7 Ark. & La. R.R. Co. v. United States, 254 U.S. 141, 143 (1920). Sutter and PAMF executives

 8 knew the importance of ensuring compliant practices when billing Medicare. For example, in
 9 August 2013, Alaniz, PAMF’s Compliance Analyst, understood the need for such care in

10 addressing coding issues, “especially since are dealing with Medicare.”

11          130.    Finally, Ormsby even went so far as to warn senior PAMF executives that false

12 coding could result in FCA liability. In mid-September 2014, she informed Dr. Conroy, PAMF’s

13 Chief Medical Officer, about the continuing “struggl[es] with coding guidelines” of Dr.

14 Vahamaki and the Physician Champions. In response, a week later, Conroy asked Ormsby,

15 “what are the range of fines and regulations we are subject to . . . on an issue like inappropriate

16 use of codes such as the obesity code?” Ormsby provided the answer to Conroy that day,

17 explaining in an email the prospect of FCA penalties and treble damages for false coding and

18 sending him PowerPoint slides that she had received at a Medicare presentation describing the
19 potential FCA liabilities.

20                  SUTTER AND PAMF’S MISCONDUCT RESULTED IN THE

21                       SUBMISSION OF THOUSANDS OF FALSE CLAIMS

22          131.    During the period from January 2010 through December 31, 2016, Sutter and

23 PAMF, through their unlawful conduct discussed in ¶¶ 1 through 130 above, knowingly caused

24 the submission of thousands of erroneous, invalid, unsupported or otherwise false risk-adjusting

25 diagnosis codes to CMS for tens of thousands of Medicare Advantage beneficiaries at PAMF.

26 The MA beneficiary population at PAMF Mills Peninsula tallied approximately 28,000 over

27 those six years, while PAMF served approximately 74,000 MA beneficiaries during that period.

28 These false claims inflated CMS’s reimbursements by tens of millions of dollars.
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 1         132.    Sutter and PAMF knew that they were required to submit accurate diagnosis data

 2 to the MA Plans and delete erroneous, invalid, unsupported or otherwise false diagnoses. See

 3 supra ¶¶ 37-38. Sutter and PAMF were also on notice from Ormsby and her audit team, as well

 4 as from other audits and chart reviews, of thousands of such coding problems. Yet, Sutter and

 5 PAMF knowingly disregarded that information and failed to investigate the prevalence of this

 6 miscoding or delete these codes. Instead, they knowingly retained the resulting overpayments.

 7         133.    In addition to Patient A discussed above in ¶¶ 81-82, the following are additional

 8 examples of false claims that Sutter and PAMF caused to be submitted to CMS:
 9                    a. Patient B - PAMF and Sutter submitted an ICD-9 diagnosis code for

10                        malignant neoplasm of thyroid gland for Patient B for date of service year

11                        2012. This diagnosis code mapped to HCC 10 and increased reimbursement

12                        from CMS. However, Patient B’s medical records and treatment show the

13                        falsity of this coding because (1) Patient B’s thyroid cancer was treated by

14                        thyroidectomy in July 2007, (2) no recurrence of the cancer occurred, and

15                        (3) there was no evidence of treatment, evaluation, or management of

16                        thyroid cancer in this patient’s 2012 medical records.

17                    b. Patient C - PAMF and Sutter submitted an ICD-9 diagnosis code for

18                        malignant melanoma of skin of scalp and neck for Patient C for date of

19                        service year 2012. This diagnosis code mapped to HCC 10 and increased

20                        reimbursement from CMS. However, Patient C’s medical records and

21                        treatment show the falsity of this coding because (1) in 2012, there was no

22                        treatment, evaluation or management of skin cancer noted in Patient C’s

23                        medical records, and (2) Patient C had last been treated for malignant skin

24                        cancer in 2006.

25                    c. Patient D - PAMF and Sutter submitted an ICD-9 diagnosis code that

26                        mapped to stroke (specifically, cerebral artery occlusion, unspecified, with

27                        cerebral infarction) for Patient D for date of service year 2014. This

28                        diagnosis code mapped to HCC 96 and increased the reimbursement from
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 1                     CMS. However, Patient D’s medical records and treatment show the falsity

 2                     of this coding because (1) Patient D’s past medical history reflected a

 3                     cerebellar infarction, a transient rather than a chronic medical condition and,

 4                     thus, not mapped to any HCC code, (2) the cerebellar infarction took place

 5                     in 1990 without further recurrence, and (3) no stroke or cerebrovascular

 6                     accident event was noted in the patient’s medical documentation for service

 7                     year 2014.

 8                  d. Patient E - PAMF and Sutter submitted an ICD-9 diagnosis code that

 9                     mapped to stroke (specifically, cerebral artery occlusion, unspecified, with

10                     cerebral infarction) for Patient E for date of service year 2014. This

11                     diagnosis code mapped to HCC 96 and increased reimbursement from

12                     CMS. However, Patient E’s medical records and treatment show the falsity

13                     of this coding because (1) Patient E’s 2013 diagnostic test of magnetic

14                     resonance angiography reflected normal results without signs of a stroke,

15                     and (2) no stroke or cerebrovascular accident event is noted in Patient E’s

16                     medical documentation for service year 2014.          A billing note further

17                     highlighted the falsity of this coding, noting a correction of the diagnosis

18                     code to a “history of cerebrovascular accident,” but that the physician’s

19                     original code is “associated with an order and cannot be removed.”

20                  e. Patient F - PAMF and Sutter submitted and ICD-9 diagnosis code for

21                     cerebral artery occlusion, unspecified with cerebral infarction for Patient F

22                     for date of service year 2013. This diagnosis code mapped to HCC 96/100

23                     (stroke) and increased reimbursement from CMS. However, Patient F’s

24                     medical records and treatment show the falsity of this coding because (1)

25                     Patient F was admitted in August 2011 for a stroke, (2) no recurrence of the

26                     stroke occurred, (3) Patient F had been on Warfarin (an anticoagulant) long-

27                     term since her stroke in 2011, and (4) there was no evidence of treatment,

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 1                     evaluation, or management of a stroke event or cerebrovascular accident in

 2                     this patient’s 2013 medical records.

 3                  f. Patient G - PAMF and Sutter submitted an ICD-9 diagnosis code for

 4                     Cerebral embolism with cerebral infarction; cerebral artery occlusion,

 5                     unspecified with cerebral infarction for Patient G for date of service year

 6                     2013. This diagnosis code mapped to HCC 96/100 (stroke) and increased

 7                     reimbursement from CMS. However, Patient G’s medical records show the

 8                     falsity of this coding because (1) no stroke or cerebrovascular accident event

 9                     is noted in Patient G’s medical documentation for service year 2014, (2) a

10                     history of a cerebrovascular accident is noted in the medical record as taking

11                     place in August 2004, for which the patient subsequently underwent

12                     rehabilitation, (3) there was no evidence of treatment, evaluation, or

13                     management of a cerebrovascular accident in this patient’s 2012 medical

14                     records.

15                  g. Patient H - PAMF and Sutter submitted an ICD-9 diagnosis code for

16                     hip/femur fracture, specifically, traumatic fracture of the mid-cervical

17                     section and unspecified part of the neck of the femur, closed for Patient H

18                     for date of service year 2014. This diagnosis code mapped to HCC 158 and

19                     increased reimbursement from CMS.           However, Patient H’s medical

20                     records show the falsity of this coding because (1) no management,

21                     evaluation or treatment of an acute hip or femur fracture is noted in Patient

22                     H’s medical records for service year 2014, (2) Patient H was last treated for

23                     fracture of the right hip in 2011, and (3) Patient H received a total hip

24                     replacement in December 2011.

25                  h. Patient I - PAMF and Sutter submitted an ICD-9 diagnosis code that

26                     mapped to hip/femur fracture, specifically, traumatic fracture of the pelvis

27                     for Patient I for date of service year 2014. This diagnosis code mapped to

28                     HCC 158 and increased reimbursement from CMS. However, Patient I’s
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 1                          medical records show the falsity of this coding because (1) no management,

 2                          evaluation or treatment of an acute hip or femur fracture is noted in Patient

 3                          I’s medical records for service year 2014, (2) Patient I’s fracture happened

 4                          in 2013 per her medical records, and (3) only a history of pelvic fracture is

 5                          documented in the 2014 medical records.

 6                      i. Patient J - PAMF and Sutter submitted an ICD-9 diagnosis code for benign

 7                          neoplasm of the brain for cerebral meninges for Patient J for date of service

 8                          year 2014.    This diagnosis code mapped to HCC 10 and increased

 9                          reimbursement from CMS. However, Patient J’s medical records and

10                          treatment show the falsity of this coding because (1) the patient’s last brain

11                          MRI was in 2012, (2) a 2014 encounter noted a history of a “small

12                          meningioma,” (3) no recurrence of a brain neoplasm is noted, and (4) there

13                          was no evidence of treatment, evaluation, or management of brain cancer in

14                          this patient’s 2014 medical records.

15                                    FIRST CLAIM FOR RELIEF

16                               False Claims Act: Reverse False Claims

17                                       31 U.S.C. § 3729 (a)(1)(G)

18      134.        The United States repeats and re-alleges the allegations contained in ¶¶ 1 to 133

19 above as though they are fully set forth herein.

20      135.        Defendants Sutter and PAMF violated the second part of 31 U.S.C. § 3729(a)

21 (1)(G) as follows: Sutter and PAMF knowingly concealed and knowingly and improperly

22 avoided or decreased an obligation to pay or transmit money or property to the Government by

23 failing to repay Medicare overpayments to which they were not entitled.

24      136.        Had CMS been aware of Sutter and PAMF’s knowing false coding and knowing

25 failure to return overpayments, it would have taken steps to recover them, and CMS has now

26 done so via this suit that it has authorized.

27

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 1      137.        By virtue of the said acts of concealment and/or improper avoidance, the United

 2 States has incurred damages and therefore is entitled to treble damages under the FCA, plus a

 3 civil penalty for each violation of the Act.

 4                                 SECOND CLAIM FOR RELIEF

 5                              False Claims Act: Reverse False Claims

 6                                    31 U.S.C. § 3729 (a)(1)(G)

 7      138.        The United States repeats and re-alleges the allegations contained in ¶¶ 1 to 133

 8 above as though they are fully set forth herein.
 9      139.        Defendants Sutter and PAMF violated the first part of 31 U.S.C. § 3729(a)(1)(G)

10 as follows: Sutter and PAMF knowingly made, used, and caused to be made or used, false

11 records and statements material to an obligation to pay or transmit money or property to the

12 Government by creating false records and making false statements relating to their failure to

13 repay Medicare overpayments to which they were not entitled.

14      140.        Had CMS been aware of Sutter and PAMF’s knowing false coding and knowing

15 failure to return overpayments, it would have taken steps to recover them, and CMS has now

16 done so via this suit that it has authorized.

17      141.        By virtue of the said false records, statements, and other acts of concealment and

18 improper avoidance, the United States has incurred damages and therefore is entitled to treble
19 damages under the FCA, plus a civil penalty for each violation of the Act.

20                                 THIRD CLAIM FOR RELIEF

21                  False Claims Act: Presentation of False or Fraudulent Claims

22                                   31 U.S.C. § 3729 (a)(1)(A)

23      142.        The United States repeats and re-alleges the allegations contained in ¶¶ 1 to 133

24 above as though they are fully set forth herein.

25      143.        Defendants Sutter and PAMF violated 31 U.S.C. § 3729(a)(1)(A) by knowingly

26 presenting and causing the presentment of false or fraudulent claims for payment or approval

27 resulting in inflated Medicare reimbursements to which they were not entitled.

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 1      144.        Had CMS been aware of Sutter and PAMF’s knowing false coding, it would have

 2 refused to make risk-adjustment payments based on the false coding and/or pursued other legal

 3 remedies to avoid the potential disruption of MA Plan benefits to thousands of Medicare

 4 beneficiaries to whom Sutter and PAMF provided healthcare services, and CMS has now done

 5 so via this suit that it has authorized.

 6      145.        By virtue of the said false or fraudulent claims, the United States has incurred

 7 damages and therefore is entitled to treble damages under the FCA, plus a civil penalty for each

 8 violation of the Act.
 9                                  FOURTH CLAIM FOR RELIEF

10                  False Claims Act: Making or Using False Records or Statements

11                                      31 U.S.C. § 3729 (a)(1)(B)

12      146.        The United States repeats and re-alleges the allegations contained in ¶¶ 1 to 133

13 above as though they are fully set forth herein.

14      147.        Defendants Sutter and PAMF violated 31 U.S.C. § 3729(a)(1)(B) by knowingly

15 making, using, and causing to be made or used, false records and statements material to false or

16 fraudulent claims resulting in inflated Medicare reimbursements to which they were not entitled.

17      148.        Had CMS been aware of Sutter and PAMF’s knowing false coding, it would have

18 refused to make risk-adjustment payments based on the false coding and/or pursued other legal
19 remedies to avoid the potential disruption of MA Plan benefits to thousands of Medicare

20 beneficiaries to whom Sutter and PAMF provided healthcare services, and CMS has now done

21 so via this suit that it has authorized.

22      149.        By virtue of the said false records and statements, the United States has incurred

23 damages and therefore is entitled to treble damages under the FCA, plus a civil penalty of each

24 violation of the Act.

25                                      FIFTH CLAIM FOR RELIEF

26                                            Payment by Mistake

27      150.        The United States repeats and re-alleges the allegations contained in ¶¶ 1 to 133

28 above as though they are fully set forth herein.
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 1       151.       As a consequence of Sutter and PAMF’s misconduct and the acts set forth above,

 2 Sutter and PAMF received monies from the United States as a result of a mistaken

 3 understanding. Specifically, the United States reimbursed MA Organizations, who in turn

 4 reimbursed Sutter and PAMF, under the mistaken understanding of the United States that such

 5 claims were based on valid risk-adjustment diagnoses. Had the United States known the truth, it

 6 would not have paid such claims. Payment was therefore by mistake.

 7       152.       As a result of such mistaken payments, the United States has sustained damages

 8 for which Sutter and PAMF are liable in an amount to be determined at trial.
 9                                      SIXTH CLAIM FOR RELIEF

10                                             Unjust Enrichment

11       153.       The United States repeats and re-alleges the allegations contained in ¶¶ 1 to 133

12 above as though they are fully set forth herein.

13       154.       As a consequence of Sutter and PAMF’s conduct and the acts set forth above,

14 Sutter and PAMF were unjustly enriched at the expense of the United States. In equity and good

15 conscience such money belongs to the United States.

16       155.       The United States is entitled to recover such money based on Sutter and PAMF’s

17 unjust enrichment in an amount to be determined at trial.

18                                                PRAYER

19          WHEREFORE, the United States requests that judgment be entered in its favor and

20 against Defendants Sutter and PAMF as follows:

21          On Claims I, II, III, and IV (False Claims Act), against all Defendants jointly and

22 severally, for: (i) the amount of the United States’ damages, trebled as required by law; (ii) the

23 maximum civil penalties allowed by law, (iii) the costs of this action, plus interest as provided by

24 law, and (iv) any other relief that this Court deems appropriate.

25          As to Claim V (Payment Under Mistake of Fact), for: (i) an amount equal to the money

26 paid by the United States through the Medicare Advantage program as a result of Defendants’

27 false submissions, plus interest; (ii) the costs of this action, plus interest, as provided by law; and

28 (iii) any other relief that this Court deems appropriate.
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 1          As to Claim VI (Unjust Enrichment), for: (i) an amount equal to how much Defendants

 2 were unjustly enriched, plus interest; (ii) the costs of this action, plus interest, as provided by

 3 law; and (iii) any other relief that this Court deems appropriate.

 4                                    DEMAND FOR JURY TRIAL

 5          The United States of America hereby demands a trial by jury.

 6

 7 Date: March 4, 2019                             Respectfully submitted,

 8                                                 JOSEPH H. HUNT
                                                   Assistant Attorney General, Civil Division
 9

10                                                 DAVID L. ANDERSON
                                                   United States Attorney
11
                                                   MICHAEL D. GRANSTON
12                                                 PATRICIA L. HANOWER
                                                   A. THOMAS MORRIS
13
                                                   J. JENNIFER KOH
14                                                 OLGA YEVTUKHOVA
                                                   Attorneys, Civil Division
15                                                 United States Department of Justice
16                                                 /s/ Kimberly Friday
                                                   KIMBERLY FRIDAY
17                                                 Assistant United States Attorney
18                                                 Attorneys for the United States of America
19

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     UNITED STATES’ COMPLAINT-IN-INTERVENTION
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              Case 3:15-cv-01062-LB Document 41 Filed 03/04/19 Page 54 of 54




 1
                                     CERTIFICATE OF SERVICE
 2
           The undersigned hereby certifies that she is an employee of the Office of the United
 3 States Attorney for the Northern District of California and is a person of such age and discretion

 4 to be competent to serve papers. The undersigned further certifies that she is causing a copy of:

 5                             United States’ Complaint-In-Intervention

 6 to be served on this date upon counsel for Defendants Sutter Health and Palo Alto Medical
   Foundation as follows:
 7

 8 Katherine Lauer, Esq.
   Latham & Watkins LLP
 9 12670 High Bluff Drive
   San Diego, CA 92130
10 katherine.lauer@lw.com

11 _____ BY FIRST CLASS MAIL, by placing such envelope(s) with postage thereon fully prepaid in

12       the designated area for outgoing U.S. mail in accordance with this offices practice.

13 _____ BY PERSONAL SERVICE, (MESSENGER)

14 _____ FEDERAL EXPRESS

15
     _____ FACSIMILE, (FAX) Telephone No.:
16
   ____ BY E-MAIL: I caused each such document to be sent by email to the person or offices of each
17       address above, such person having consented to service of documents by e-mail.

18 _____ CERTIFIED MAIL, by placing such envelope(s) with postage thereon fully prepaid in the
         designated area for outgoing U.S. mail in accordance with this offices practice.
19

20
          I declare under penalty of perjury under the laws of the United States that the foregoing is true
21 and correct.

22
     Dated: March 4, 2019                By:      /s/ Kimberly Friday
23                                                KIMBERLY FRIDAY
24                                                Assistant United States Attorney

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26

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     UNITED STATES’ COMPLAINT-IN-INTERVENTION
     CV 15-01062-JD                          54
